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                               EXHIBIT 
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      1               IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
      2                         EASTERN DIVISION
      3
               IN RE NATIONAL PRESCRIPTION
      4        OPIATE LITIGATION                        Hon. Dan A. Polster
                                                        MDL No. 2804
      5        THIS DOCUMENT APPLIES TO ALL             No. 17-MD-2804
               CASES
      6        ____________________________/
      7
      8                     HIGHLY CONFIDENTIAL -
                  SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
      9
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     10
                             THURSDAY, JANUARY 10, 2019
     11
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     12
                    Videotaped Deposition of DONALD WALKER, held
     13    at the Law Offices of COVINGTON & BURLING, One Front
           Street, 35th Floor, San Francisco, California,
     14    beginning at 8:57 a.m., before Sandra Bunch
           VanderPol, FAPR, RMR, CRR, CALIFORNIA CSR #3032
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           _____________________________________________________
     22
                           GOLKOW LITIGATION SERVICES
     23               877.370.3377 ph | 917.591.5672 fax
                                Deps@golkow.com
     24
     25

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                                                                             Review

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      1                       APPEARANCES (Continued)
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     23
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     25

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                  CVS Rx
      6
      7     Also Present:
      8             BRIAN ASQUITH, Law Clerk
      9             EVAN WOLFE, Technical Support
     10             RYAN WONG, Videographer
     11
     12    Appearing Via Video/Realtime Stream:
     13             AMY KENNEDY
     14

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                 MR. KENNEDY                                                15
      4          MS. HENN                                                   357
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      1                BE IT REMEMBERED that on Thursday, the 10th

      2    day of January, 2019, commencing at the hour of

      3    8:57 a.m. in the law offices of Covington & Burling,

      4    One Front Street, 35th Floor, San Francisco,

      5    California, before me, Sandra Bunch VanderPol, a

      6    Certified Shorthand Reporter in and for the State of

      7    California, personally appeared.

      8                              DONALD WALKER,

      9    called as a witness (McKesson), who, having been duly

     10    sworn, was thereupon examined and interrogated as

     11    hereinafter set forth.

     12                                   --o0o--

     13                THE VIDEOGRAPHER:       We are now on the record.

     14                My name is Ryan Wong.        I'm a videographer

     15    for Golkow Litigation Services.           Today's date is

     16    January 10th, 2019, and the time is 8:57 a.m.

     17                This video deposition is being held in

     18    San Francisco, California, in the matter of National

     19    Prescription Opiate Litigation, for the United States

     20    District Court, Northern District of Ohio.

     21                The deponent is Donald Walker.

     22                Would counsel please identify themselves for

     23    the record.

     24                MR. KENNEDY:      Eric Kennedy, on behalf of

     25    plaintiffs.

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      1                MR. ASQUITH:      Brian Asquith, plaintiffs.

      2                MR. WOLFE:     Evan Wolfe, tech support.

      3                MS. URQUHART:      Abigail Urquhart, on behalf

      4    of Walmart.

      5                MR. LIVINGSTON:      Scott Livingston, on behalf

      6    of HBC.

      7                MR. O'CROININ:      Conor O'Croinin, on behalf

      8    of CVS.

      9                MS. KVESELIS:      Emily Kveselis, for McKesson

     10    and the witness.

     11                MS. HENN:     Emily Henn, from Covington &

     12    Burling, on behalf of McKesson and Mr. Walker.

     13                THE VIDEOGRAPHER:       On the phone?

     14                MR. SHAPLAND:      Eric Shapland, on behalf of

     15    Endo and Par, at Arnold & Porter.

     16                MR. BUSHAR:     Joseph Bushar, of Williams &

     17    Connolly, on behalf of Cardinal Health.

     18                MS. RURANGIRWA:      Linda Rurangirwa.

     19    Collinson, Daehnke, on behalf of C&R Pharmacy.

     20                MS. ROCCHINO:      Samantha Rocchino, of Reed

     21    Smith, LLP, on behalf of AmerisourceBergen Drug

     22    Corporation.

     23                THE VIDEOGRAPHER:       The court reporter is

     24    Sandy VanderPol, and she will now swear in the

     25    witness.

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      1                THE REPORTER:      Raise your right hand,

      2    please.

      3                Do you solemnly swear or affirm that the

      4    testimony you are about to give in this proceeding

      5    will be the truth, the whole truth, and nothing but

      6    the truth, so help you God?

      7                THE WITNESS:      I do.

      8                               EXAMINATION

      9    BY MR. KENNEDY:

     10                Q.       Sir, my name is Eric Kennedy.          You

     11    understand that I represent the plaintiffs in this

     12    case?

     13                A.       I do.

     14                Q.       And could you please state your full

     15    name for the record.

     16                A.       Donald Walker.

     17                Q.       And are you currently employed?

     18                A.       I am not.

     19                Q.       And your prior employer was McKesson;

     20    would that be true?

     21                A.       That's correct.

     22                Q.       And so the jury understands where we

     23    are today, we are in San Francisco; are we not?

     24                A.       Yes, we're in San Francisco.

     25                Q.       And San Francisco would be the

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      1    worldwide corporate headquarters of McKesson

      2    Corporation; would that be true?

      3                MS. HENN:      Objection to form.

      4                THE WITNESS:      McKesson's corporate

      5    headquarters is currently in San Francisco,

      6    California.

      7    BY MR. KENNEDY:

      8                Q.       And we are at the offices of your

      9    attorney at this present time; yes?

     10                A.       Yes, we are.

     11                Q.       When did you begin your career with

     12    McKesson?

     13                A.       I joined McKesson in 1987.

     14                Q.       And when you joined them, what was

     15    your position?

     16                A.       My first position with McKesson was

     17    as a Transportation Manager with one of the

     18    subsidiary companies that McKesson had.

     19                Q.       Were your responsibilities in any way

     20    involved with the regulatory affairs at that time?

     21                A.       No.

     22                Q.       And what was the next position that

     23    you held with McKesson?

     24                A.       I held the position with the -- what

     25    was then the McKesson Drug Company and

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      1    Transportation, and had responsibility for

      2    transportation planning.

      3                Q.       And when did you take that position?

      4                A.       About 1991.

      5                Q.       Did that position have anything to do

      6    with regulatory affairs of the distribution of

      7    opioids?

      8                A.       No, it did not.

      9                Q.       What did that position basically

     10    involve?

     11                A.       The transportation position that I

     12    held was really a position of optimizing delivery

     13    efficiencies for our distribution centers.

     14                Q.       What was your next position at

     15    McKesson?

     16                A.       I was the Distribution Center Manager

     17    of our Sacramento Distribution Center.

     18                Q.       When did you take that position?

     19                A.       My best recollection is about 1992.

     20                Q.       And what were your duties and

     21    responsibilities then, as the manager of a

     22    distribution center?

     23                A.       I had responsibility for oversight of

     24    our daily distribution of pharmaceuticals to

     25    pharmacies served by that distribution center.

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      1                Q.       And that position would have involved

      2    the distribution of opioids; would it not?

      3                A.       As part of our distribution, we did

      4    distribute controlled substances to pharmacies.

      5                Q.       Did you have any responsibility at

      6    that point in time with respect to the creation,

      7    management or implementation of anti-diversion

      8    regulations and policies at McKesson?

      9                MS. HENN:     Object to form.

     10                THE WITNESS:      No.   At that time I was

     11    executing against existing policies the company had

     12    in place.

     13    BY MR. KENNEDY:

     14                Q.       What were in place from 1992 to the

     15    late '90s?       What was the policy in place?

     16                A.       There were -- the policies we had

     17    were contained in our Operations Manuals that

     18    specified our responsibilities to comply to

     19    regulations for handling and distribution of

     20    controlled substances.

     21                Q.       We know about the existence of

     22    Standard Operating Procedure 55.            Are you familiar

     23    with that?

     24                A.       Yes.

     25                Q.       Was that the policy and procedure

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      1    that was in place in the 1990s?

      2                A.       The Section 55 of our Operations

      3    Manual covered the responsibilities with the handling

      4    and distribution of controlled substances.

      5                Q.       Sir, that wasn't my question.          I was

      6    asking, was Standard Operating Procedure Section 55,

      7    was that the policy in place in the 1990s?

      8                A.       My recollection is that Section 55

      9    was the applicable policy in place during a period in

     10    the 1990s.

     11                Q.       How long did you hold the position as

     12    a Distribution Center Manager?

     13                A.       I recall it was approximately 18

     14    months.

     15                Q.       So sometime in 1993/'94, you took on

     16    a new position?

     17                A.       Yes.   In 19 -- in that time frame, I

     18    don't recall exactly when, I was promoted to a new

     19    position of Vice President of Distribution Operations

     20    for their Western Region.

     21                Q.       Western Region would be the western

     22    part of the United States?

     23                A.       Yes.

     24                Q.       And what were your responsibilities

     25    as VP of Distribution of the Western Region?

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      1                A.       I had responsibility for the

      2    operations staff in the distribution centers that

      3    comprised the Western Region.           So the distribution

      4    center managers that operated those facilities

      5    reported to me.

      6                Q.       And at that point in time -- how

      7    long -- how long did you hold that position?

      8                A.       I held that position until about

      9    1996.

     10                Q.       And in that position, did you have

     11    responsibility -- other than the following of SOP 55,

     12    did you have any duties, responsibilities, with the

     13    creation and the management of anti-diversion

     14    policies and procedures at McKesson?

     15                MS. HENN:     Objection to form.

     16                THE WITNESS:      In that role I had

     17    responsibility for the distribution centers and their

     18    execution of their responsibilities under Section 55

     19    to the handling and distribution of controlled

     20    substances.

     21    BY MR. KENNEDY:

     22                Q.       You held that position till what

     23    year, the VP of the Western Region?

     24                A.       Approximately 1996.

     25                Q.       And what position did you take in

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      1    1996?

      2                A.       In 1996 I was promoted to the Senior

      3    Vice President of Distribution for McKesson

      4    Pharmaceutical.

      5                Q.       Was that a new position also?

      6                MS. HENN:     Objection to form.

      7                THE WITNESS:      No.   That position, I

      8    succeeded an individual who retired from the company.

      9    BY MR. KENNEDY:

     10                Q.       Is that the position you held until

     11    the time of your retirement?

     12                A.       Yes, with the exception of a period

     13    of time from approximately 2000 to 2005 where I was

     14    responsible for our Six Sigma organization.

     15                Q.       And what is that?

     16                A.       Six Sigma is a process improvement

     17    methodology that we introduced to the company at that

     18    time, and I was the senior leader of our Six Sigma.

     19                Q.       Did the Six Sigma project in any way

     20    relate to the distribution of opioids?

     21                A.       Not that I recall.

     22                Q.       From '96 to 2000, in this four-year

     23    period, what are your responsibilities as a Senior VP

     24    of Distribution as it related to the distribution of

     25    opioids?

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      1                A.       As the Senior Vice President of

      2    Distribution, included in my responsibility was our

      3    Regulatory Affairs Group.          It was our overall

      4    responsibility to ensure that we were complying with

      5    regulations associated with the handling and

      6    distribution of controlled substances.

      7                Q.       And would that be on a national

      8    basis?

      9                A.       Yes.

     10                Q.       Then from 2000 to 2005, when you no

     11    longer had your responsibilities as Senior VP of

     12    Distribution, who took over your responsibilities

     13    during this five-year period?

     14                A.       I recall there were two different

     15    individuals that had responsibility during that time

     16    frame, a Ron Bone and a Brian Magerkurth.

     17                Q.       And so they had taken over your

     18    responsibilities as it related to McKesson's

     19    responsibilities as a distributor relating to the

     20    distribution of opioids?

     21                A.       During -- during that time they would

     22    have had the responsibility for our Regulatory

     23    Affairs, yes.

     24                Q.       And would their responsibility and

     25    your responsibility, when you were acting as the

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      1    Senior VP, would that have related to the policies

      2    and procedures of McKesson in relation to suspicious

      3    order monitoring?

      4                MS. HENN:     Objection to form.

      5                THE WITNESS:      As part of our overall

      6    policies, it did include reporting of suspicious

      7    orders.

      8                              (Exhibit No. 690 was marked.)

      9    BY MR. KENNEDY:

     10                Q.       I am going to show you what we have

     11    marked as Plaintiffs' Exhibit 690, if you would,

     12    please.

     13                MS. HENN:     Do you have a second copy for the

     14    counsel over here?        `

     15                UNIDENTIFIED SPEAKER ON TELEPHONE:            And if

     16    it does have a Bates number, if that could be read

     17    into the record, it would be appreciated.

     18                MR. KENNEDY:      The Bates number,

     19    McKessonMDL00409116 -- that's the starting Bates --

     20    to -73.     To -173.

     21    BY MR. KENNEDY:

     22                Q.       Mr. Walker, what is the date on this

     23    document, if you look at the cover page?

     24                A.       The date is March 12th, 2014.

     25                Q.       Large capitals, "McKesson

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      1    Corporation"?

      2                A.       Yes.

      3                Q.       And the title would be the,

      4    "Presentation to the U.S. Attorney's Office, Northern

      5    District of West Virginia, and DEA."             Do you see

      6    that?

      7                A.       Yes.

      8                Q.       If you will -- if you will go to page

      9    -122, the last three -- the last three numbers in the

     10    bottom right-hand corner.

     11                Is the title of this McKesson's Regulatory

     12    Affairs team, Pre-Settlement"?

     13                MS. HENN:     Objection to form.

     14                THE WITNESS:      Yes.

     15    BY MR. KENNEDY:

     16                Q.       Presettlement would be prior to 2008;

     17    would that be true?         There was a settlement between

     18    McKesson and the DEA in 2008; do you recall that?

     19                A.       I recall the settlement in 2008, yes.

     20                Q.       And this is referencing a

     21    pre-settlement; do you see that?

     22                A.       I see that.

     23                Q.       My question being, from 2000 to -- up

     24    to 2008, the time of the settlement, would this have

     25    been the regulatory team at McKesson?

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      1                MS. HENN:     Objection to form.

      2                THE WITNESS:      Can you repeat.

      3    BY MR. KENNEDY:

      4                Q.       In this time frame, prior to the

      5    settlement, prior to 2008, would this presentation to

      6    the government -- would this presentation to the

      7    government accurately reflect the regulatory team at

      8    McKesson?

      9                A.       The regulatory -- counsel, if your

     10    question is if this was the regulatory team prior to

     11    2008, yes.

     12                Q.       And --

     13                A.       I'm not familiar with this document.

     14    So that's why I'm answering the question that way.

     15                Q.       I just thought I might help you with

     16    recollecting back to this period of time.

     17                And so my question is, Bruce Russell is one

     18    of three of the regulatory team.            Do you remember

     19    when he was brought on at McKesson, prior to 2008 to

     20    make up the regulatory team?

     21                A.       I don't recall specifically when he

     22    was brought on.       When I joined the company, Bruce was

     23    already an employee of McKesson.

     24                Q.       All right.     And do you know when he

     25    took this position as part of the regulatory team?

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      1                A.       I don't recall specifically.          He held

      2    several -- several different positions.              I know that

      3    it did include regulatory, but I don't know the

      4    dates.

      5                Q.       And do you know when Mr. Hilliard was

      6    brought on and made part of the regulatory team at

      7    McKesson?

      8                A.       Again, I don't recall the specific

      9    date.    But Mr. Hilliard joined our regulatory team as

     10    a result of our acquisition of Foxmeyer Corporation.

     11                Q.       And when we talk about a regulatory

     12    team, can we be in agreement we are talking about the

     13    team that managed -- managed and implemented the

     14    policies in relation to the distribution of opioids;

     15    would that be correct?

     16                MS. HENN:     Objection to form.

     17                THE WITNESS:      The regulatory team had

     18    responsibility for ensuring the policies were current

     19    and in compliance with the regulation, and provided

     20    oversight and guidance to our distribution center

     21    teams to ensure that all of our distribution centers

     22    were in compliance.

     23    BY MR. KENNEDY:

     24                Q.       And when we're talking about

     25    compliance, we're talking about -- that would include

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      1    compliance as it relates to the distribution of

      2    opioids; true?

      3                A.       It would include the distribution of

      4    controlled substances, yes.

      5                Q.       Opioids; correct?       They were a

      6    controlled substance?

      7                A.       The -- we had responsibility for all

      8    controlled substances.

      9                Q.       Okay.    I want you -- it's just a

     10    simple "yes" or "no" question.

     11                Opioids are a controlled substance; are they

     12    not?    "Yes" or "no."

     13                A.       I understand narcotics are a

     14    controlled substance, as defined by the DEA, but I

     15    don't have the expertise to understand.              We

     16    understood them to be controlled substances.

     17                Q.       Well, let me ask you this.           You were

     18    in charge of regulatory; you worked at the

     19    distribution center; you had a long career working

     20    directly with the DEA; correct?           Correct?

     21                MS. HENN:     Objection to form.

     22                THE WITNESS:      I had a long career with

     23    McKesson that included interaction with DEA.

     24    BY MR. KENNEDY:

     25                Q.       And are you saying that you have

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      1    never understood that opioids were a controlled

      2    substance?

      3                A.       In the regulations, I understand

      4    narcotics to be a controlled substance.              And what I

      5    can't answer for you is whether opioids specifically

      6    are called out in the regulation.

      7                We were responsible for the oversight and

      8    control of controlled substances, including

      9    narcotics.

     10                Q.       Okay.    My question is very simple.

     11    In your long career at McKesson -- and at the end of

     12    the day you were the boss with respect to

     13    regulation -- and are you saying that, as you sit

     14    here today, you never understood that opioids were a

     15    controlled substance that the federal government was

     16    addressing when they put the Controlled Substance Act

     17    into law in 1970?       You never understood that; is that

     18    your testimony, sir?

     19                MS. HENN:     Objection to form.

     20    BY MR. KENNEDY:

     21                Q.       I'm asking you about opioids.

     22                A.       Again, I very specifically understood

     23    narcotics, and I --

     24                Q.       And you didn't know about opioids?

     25                A.       And I don't recall opioids being in

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      1    the regulation.

      2                Q.       Let me ask you, did you recall, in

      3    your long, long career, did you know whether or not

      4    oxycodones were within the topic of controlled

      5    substances that the DEA and Congress of the

      6    United States were intending to be within the purview

      7    of what they wanted regulated?           Did you understand

      8    oxycodones were a part of that?

      9                MS. HENN:     Objection to form.

     10                THE WITNESS:      I understood oxycodone to be a

     11    Class 2 narcotic, yes.

     12    BY MR. KENNEDY:

     13                Q.       A controlled substance that you had

     14    the responsibility at McKesson to regulate; correct?

     15    You understood that?

     16                A.       Yes.

     17                Q.       Did you understand that hydrocodones

     18    were within the purview of controlled substances that

     19    the government and the DEA and Congress intended to

     20    be subject to their regulation and distribution?

     21                A.       Yes.

     22                Q.       The three folks that we see here

     23    making up the regulatory team -- and, again, when I

     24    say "regulatory team" or "Regulatory Affairs," we

     25    could understand that what we are talking about are

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      1    the responsibilities of McKesson as it related to the

      2    prevention of diversion of controlled substances; you

      3    understand that?

      4                MS. HENN:     Objection to form.

      5                THE WITNESS:      I would describe our

      6    regulatory team as having responsibility to ensure

      7    that our distribution centers were complying with all

      8    regulations, to which McKesson was obligated.

      9    BY MR. KENNEDY:

     10                Q.       Well, tell me what regulations

     11    McKesson was obligated to with respect to the

     12    distribution of controlled substances, then, so maybe

     13    we can communicate better.          Tell me.

     14                In this period prior to 2008, tell me the

     15    regulations that you just referred to that McKesson

     16    was responsible to follow.

     17                A.       At a high level, the responsibility

     18    of our distribution centers was to ensure the safe

     19    handling, security, recordkeeping associated with the

     20    distribution and handling of controlled substances

     21    and to -- specifically under the regulation, to guard

     22    against diversion and report suspicious orders.

     23                Q.       And that was under this -- this

     24    umbrella of Regulatory Affairs; correct?

     25                A.       Yes, under our Regulatory Affairs

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      1    Group, including our distribution centers, that was

      2    our compliance responsibility.

      3                Q.       And prior to 2008, as you've

      4    represented to the DEA in this slide presentation,

      5    prior to 2008, these three folks, Mr. Walker,

      6    Mr. Russell, Mr. Hilliard, they made up the

      7    regulatory team; true?

      8                MS. HENN:     Objection to the form.

      9                THE WITNESS:      Prior to 2008, this was the

     10    regulatory team.

     11    BY MR. KENNEDY:

     12                Q.       So during this period prior to 2008,

     13    I want to focus on 2005 to start with; all right?

     14                A.       Okay.

     15                Q.       2005 there was an opioid crisis in

     16    the United States; was there not?

     17                MS. HENN:     Objection to form.

     18                THE WITNESS:      I -- I don't have the specific

     19    knowledge or recollection that there was an opioid

     20    crisis in the United States at the time.

     21    BY MR. KENNEDY:

     22                Q.       In 2005?

     23                A.       Correct.

     24                Q.       Let me ask you this.        Is it just that

     25    you don't remember back to 2005, or is it that you

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      1    believe that back in 2005 you weren't conscious of an

      2    opioid crisis in this country?

      3                A.       I don't recall when the term --

      4    basically, the public information associated with

      5    what eventually was termed "the opioid crisis" first

      6    was identified.

      7                Q.       Well, let me ask.       In 2005 you

      8    understood McKesson was selling more opioid narcotics

      9    than any company in the United States?             You knew

     10    that, didn't you?

     11                MS. HENN:     Objection to form.

     12                THE WITNESS:      No, I don't have any specific

     13    information or recollection that our quantities were

     14    the largest in the United States.

     15    BY MR. KENNEDY:

     16                Q.       As you sit here today, do you know

     17    and do you understand that over the years McKesson

     18    has been the largest distributor of opioids in this

     19    country?

     20                MS. HENN:     Objection to form.

     21                THE WITNESS:      No, I don't have that

     22    knowledge.

     23    BY MR. KENNEDY:

     24                Q.       In 2005 McKesson was selling

     25    oxycodones, were they not?

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      1                A.       In 2005 I believe that McKesson

      2    was -- oxycodone was one of the controlled substances

      3    we sold.

      4                Q.       McKesson was selling hydrocodones;

      5    were they not?

      6                A.       In 2005?

      7                Q.       Yes.

      8                A.       Yes.

      9                Q.       And if I were to tell you that with

     10    respect to narcotics and controlled substances, by

     11    2005 McKesson was probably selling over a billion

     12    dollars worth of those narcotics, would that be

     13    contrary to your memory and your belief of the level

     14    of sales of McKesson in 2005?

     15                MS. HENN:     Objection to form.

     16                THE WITNESS:      I don't have any specific

     17    knowledge in what our sales quantities of those

     18    substances were at that time.

     19    BY MR. KENNEDY:

     20                Q.       Let me ask you -- see if we can




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     10                Q.       That's not what I'm asking you.           And

     11    you -- you're the right guy, and you understand --

     12    you heard my question; did you not?

     13                MS. HENN:     Counsel, could you just ask a

     14    question, please.

     15    BY MR. KENNEDY:

     16                Q.       Did you hear my question, sir?

     17                A.       I heard your question.

     18                Q.       Did you understand my question?

     19                A.       I understood your question.

     20                Q.       I'm going to ask it again, maybe in a

     21    little different way.




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     10                Q.       And I'm going to move to strike.           And

     11    I'm going to ask you again.

     12                I want to know about your responsibility to

     13    know.    I don't want you to parrot something that you

     14    want to say or have been prepared to say.              I want you

     15    to answer my question; all right?




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     12                Q.       So are you going to refuse to answer

     13    that question?       I want to know, and I will move on.

     14    If you are not going to answer that question, I will

     15    move on.

     16                Are you refusing to answer my question?

     17                MS. HENN:     Counsel, please just pose

     18    questions.       He will answer them.

     19    BY MR. KENNEDY:

     20                Q.       Are you refusing to answer my

     21    question, sir?

     22                MS. HENN:     Objection to form.




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     18                Q.       And I've written that accurately;

     19    correct?     Simple question.       If I haven't, I will

     20    rewrite it; I will write more.

     21                Have I written that correctly with respect

     22    to Mr. Walker's view as head of regulatory, your view

     23    of McKesson's responsibility?

     24                MS. HENN:     Objection to form.

     25    ///

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      1    BY MR. KENNEDY:

      2                Q.       Have I written that accurately, sir?

      3                A.       That appears to be what I said.

      4                Q.       Very good.     All right.

      5                So let's take a look at whether or not

      6    McKesson fulfilled its responsibility --

      7    all right? -- according to Mr. Walker's view of their

      8    responsibility.       All right?

      9                A.       Okay.

     10                              (Exhibit No. 801 was marked.)

     11                MR. KENNEDY:      If you can give me

     12    Exhibit 688, please.

     13                              (Exhibit No. 688 was marked.)

     14    BY MR. KENNEDY:

     15                Q.       So let's look at McKesson's

     16    fulfilling of its responsibility, then, as you have

     17    described it.      This is Exhibit 688, Bates -00496859

     18    to -875.

     19                This is a memorandum.        Do you see that up at

     20    the top, it says, "Memorandum"?

     21                A.       Yes.    Give me just a minute.

     22                Yes.

     23    BY MR. KENNEDY:

     24                Q.       And this is a Memorandum.         This is a

     25    DEA document; is it not?         Do you see the DEA logo,

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      1    U.S. Department of Justice, Drug Enforcement

      2    Administration?       This is a memo from the DEA, from

      3    their documents; true?

      4                A.       That's what's on the document, yes.

      5                Q.       Well, Mr. Walker, you have seen this

      6    document before; have you not?           This came from your

      7    files.

      8                A.       Yes, I have seen this document.

      9                MS. HENN:     Objection to form.

     10    BY MR. KENNEDY:

     11                Q.       When was the last time you saw this

     12    document?

     13                A.       I believe the most recent was in

     14    preparation for this deposition.

     15                Q.       All right.     So this is a memorandum.




     25                Q.       And this is an internal memoranda

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      1    that Mr. Mapes, from the DEA, created for Joseph

      2    Rannazzisi of the DEA; true?           Is that true?

      3                A.       That would appear to be correct.

      4                Q.       And you know who Mr. Rannazzisi of

      5    the DEA is, do you not?

      6                A.       Yes, I do.

      7                Q.       He held an important position with

      8    the DEA; did he not?

      9                A.       Mr. Rannazzisi was the head of

     10    diversion control.

     11                Q.       And that's an important position; is

     12    it not?

     13                A.       I believe so.

     14                Q.       All right.     Let's read the first




     21                     of reading).

     22                He's from McKesson; right?

     23                MS. HENN:     Objection to form.

     24    BY MR. KENNEDY:

     25                Q.       He's legal counsel at McKesson?

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      1                A.       Mr. Gilbert is outside counsel for

      2    McKesson.

      3                Q.       All right.     A lawyer; right?

      4                A.       Yes, he's a lawyer.

      5                Q.       Ronald Bone, Senior Vice President,

      6    Distribution Support.         He's from McKesson; correct?

      7                A.       Yes.

      8                Q.       Gary Hilliard, Director of Regulatory

      9    Affairs was present; right?

     10                A.       Yes.

     11                Q.       And as far as that -- the hierarchy,

     12    the chain of command in Regulatory, he was right

     13    underneath you or he was two down from you; correct?

     14    We just looked at that.

     15                A.       At -- that's not accurate.         At this

     16    time I was not in the role of Senior Vice President

     17    of Distribution.       But ultimately he was.

     18                Q.       Okay.    And Michael Mapes, from the

     19    DEA, was at the meeting; true?           Is that what it

     20    indicates?

     21                A.       That's what the document indicates.

     22                Q.       Charles E. Trant, Office of Chief

     23    Counsel, Diversion and Regulatory Litigation

     24    Division, that was a lawyer from the DEA present at

     25    the meeting; true?

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      1                MS. HENN:     Objection to form.

      2                THE WITNESS:      Again, that's what the

      3    document represents.

      4    BY MR. KENNEDY:

      5                Q.       Jim Crawford, from the DEA, he was

      6    also there; correct?

      7                A.       According to the document.

      8                Q.       Kyle Wright, from the DEA, was also

      9    at the meeting, according to the document?

     10                A.       Yes, that's what's written.

     11                Q.       That last sentence in the first

     12    paragraph states:




     21                Q.       And you understand that they said

     22    they wanted to talk to you about source of supply.

     23    That's McKesson, because McKesson is a source of

     24    supply to pharmacies; true?

     25                MS. HENN:     Objection to form.

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      1    BY MR. KENNEDY:

      2                Q.       That's what they are talking about?

      3                A.       McKesson's role in the pharmaceutical

      4    supply chain is to supply pharmacies.

      5                Q.       They are a source of supply?          That's

      6    what they are talking about in this memo; true?

      7                MS. HENN:     Objection to form.

      8                THE WITNESS:      I'm not sure what their intent

      9    in writing the "source of supply."            But McKesson does

     10    supply pharmacies.

     11    BY MR. KENNEDY:

     12                Q.       Are you telling me, you don't know

     13    what they mean by "source of supply"?             You don't know

     14    what that means?

     15                MS. HENN:     Objection to form.       Asked and

     16    answered.

     17    BY MR. KENNEDY:

     18                Q.       Is that your testimony?

     19                MS. HENN:     Same objection.

     20                THE WITNESS:      Again, I'm not sure

     21    specifically what Mr. Mapes is intending or meaning

     22    there.    What I can assure you is that McKesson

     23    supplies pharmacies.

     24    BY MR. KENNEDY:

     25                Q.       All right.     From your background,

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     11                Q.       Let me ask you, meetings like this

     12    didn't happen every week with the DEA where lawyers

     13    are involved, the DEA is bringing all these folks,

     14    and McKesson is bringing all these folks?              These type

     15    meetings with the DEA did not happen every week;

     16    would that be true?

     17                A.       Meetings at DEA headquarters were

     18    not, you know, frequent.

     19                Q.       This didn't even happen every month,

     20    where this many people from McKesson were brought in

     21    to meet this many people at DEA headquarters?               It

     22    didn't even happen once a month; did it?

     23                A.       Not that I recall.




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     18                Q.       McKesson, when they provided us with

     19    this document, put a black box.           Do you know why that

     20    black box is there?

     21                MS. HENN:     Objection to form.

     22                THE WITNESS:      No, I do not.

     23    BY MR. KENNEDY:




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     12                Q.       Now, you have reviewed this document

     13    within the last few weeks; true?

     14                A.       Yes, I believe so.

     15                Q.       And you clearly would have seen this

     16    document back in 2005, 2006?           We got it out of your

     17    files; correct?       You saw it back then; right?

     18                MS. HENN:     Objection to form.

     19                THE WITNESS:      I don't recall seeing this

     20    document, this internal DEA document, prior to the

     21    review with counsel.

     22    BY MR. KENNEDY:




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     25                MR. KENNEDY:      All right.     Let's go four

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      1    months later.      All right.      Four months later.       If we

      2    could look at Exhibit 689, please.

      3                              (Exhibit No. 689 was marked.)

      4                MR. KENNEDY:      That's a Bates -00496876 to

      5    -878.

      6                Q.       You have got a September 1 meeting,

      7    2005.    I want to talk about four months later.              You

      8    have seen this document; have you not?

      9                A.       Yes, I have.

     10                Q.       This is from your files.

     11                A.       Yes, I have seen this document.

     12                MS. HENN:     Objection to form.

     13    BY MR. KENNEDY:

     14                Q.       This is another -- this is another

     15    DEA memo; is it not?

     16                A.       It would appear to be a DEA memo,

     17    yes.




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      1                Q.       Now, this is a DEA memo, again,

      2    written to Mr. Rannazzisi; correct?

      3                A.       That's correct.

      4                Q.       Let's look to the first paragraph.




     13                The second paragraph states:

     14                     (Reading) Representing McKesson

     15                     Corporation were Donald G.        Walker" --

     16                That's you; right?

     17                A.       Yes, it is.

     18                Q.       You're at the second meeting; right?

     19                A.       Yes, I was at this meeting.

     20                Q.       And that point you were Senior Vice

     21    President of Distribution Operations; correct?

     22                A.       That is correct.

     23                Q.       So you're sitting on top of

     24    Regulatory Affairs at that point; true?

     25                A.       Yes.

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      1                Q.       Bill Mahoney, Distribution Center

      2    Manager, Lakeland Distribution Center, Florida, was

      3    there; right?       McKesson employee; true?

      4                A.       Yes.

      5                Q.       Gary Hilliard, Director of Regulatory

      6    Affairs, was there; right?

      7                A.       Yes.

      8                Q.       McKesson.     He's from McKesson; right?

      9                A.       Yes, he was.

     10                Q.       And John Gilbert, one of McKesson's

     11    lawyers was present; true?

     12                A.       That is correct.

     13                Q.       And it says -- next paragraph down it

     14    outlines now who is there from the DEA.              It says:

     15                     (Reading) Representing Drug

     16                     Enforcement Administration (DEA)

     17                     Office of Diversion Control (OD) were

     18                     Joseph Rannazzisi, Deputy Assistant

     19                     Administrator, Michael R. Mapes,

     20                     Chief, E-Commerce Section (end of

     21                     reading).

     22                Another DEA person; true?

     23                A.       Yes.

     24                Q.       Kyle Wright, Chief E-Commerce

     25    Operations from the DEA was present; right?

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      1                A.       Yes.

      2                Q.       And then Charles E. Trant, a DEA

      3    Chief Counsel, a lawyer, was also present; right?

      4                A.       That's what's represented on the

      5    document, yes.

      6                Q.       The next paragraph down.         Could you

      7    read that to us.       Read the next paragraph down.




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      6    BY MR. KENNEDY:

      7                Q.       The next bullet point down, "The

      8    E-Commerce Section" -- that's the DEA -- "retrieved

      9    ARCOS data" -- and that's a database where the DEA

     10    can look at what McKesson is actually distributing

     11    and selling; true?        That's what the ARCOS data is?

     12                A.       The ARCOS data is data that we

     13    provided -- that is required by the regulation.                So

     14    it is data of sales of controlled substances that are

     15    required to be reported.

     16                Q.       So it states:




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     22                Q.       You know that at this point in time,

     23    the DEA, their statistics in ARCOS, were showing that

     24    the average monthly, average monthly distribution by

     25    a distributorship of McKesson was 5,000 units of

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      1    hydrocodone?      Do you remember that?         Remember that

      2    communication, all during this period?

      3                MS. HENN:     Objection to form.

      4                THE WITNESS:      I recall DEA indicating that

      5    5,000 doses of controlled substances was average.

      6    BY MR. KENNEDY:

      7                Q.       That's an average monthly dose;

      8    right?

      9                A.       That's what I recall.




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     13                Q.       Let me ask you this.        Forget the

     14    averages and forget everything else.             You were

     15    involved in this, sir, for how many years?

     16                A.       Probably 15 years in the role.




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     14                Q.       -- you don't have any knowledge

     15    whether these are correct?          You were directly

     16    involved with this memo from the beginning, and this

     17    led to negotiations and a settlement, and McKesson

     18    losing its license to distribute opioids and a

     19    $13 million fine; did it not?           You were directly

     20    involved with that; were you not?

     21                MS. HENN:     Objection to form.

     22                THE WITNESS:      I was directly involved in the

     23    settlement with DEA and the penalties that were

     24    associated with that.

     25    ///

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      1    BY MR. KENNEDY:




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     19                MR. KENNEDY:      Could I have the Elmo, please.

     20                MS. HENN:     Counsel, we have been going over

     21    an hour.     Would this be a decent time for a five-,

     22    ten-minute break?

     23                MR. KENNEDY:      Sure.

     24                THE VIDEOGRAPHER:       We are going off the

     25    record.     The time is 10:07 a.m.

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      1                (Recess taken.)

      2                THE VIDEOGRAPHER:       We are back on the

      3    record.     The time is 10:22 a.m.

      4    BY MR. KENNEDY:




     21                Q.       Hydrocodone is a controlled

     22    substance; right?

     23                A.       Yes, it is.




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     20    BY MR. KENNEDY:

     21                Q.       Sir, you sat through the meetings,

     22    the negotiations, the pleadings, and all of the legal

     23    proceedings with respect to this event; did you not?

     24                A.       No, that's not accurate.         I did not

     25    sit through all the meetings and negotiations that

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      1    took place between counsels.

      2                Q.       Did you sign the agreement with the

      3    DEA in relation to these violations, these sales of

      4    hydrocodones?      Did you sign the very settlement

      5    agreement; sir?

      6                A.       I signed the 2008 memorandum

      7    agreement, yes.

      8                Q.       Let me back up, because I just -- I

      9    just want to be clear about it.




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     24    BY MR. KENNEDY:

     25                Q.       And that means you're not going to be

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      1    able to sell narcotics to pharmacies:             Right?    If you

      2    have got to give your registration back, that's what

      3    that means?

      4                A.       If a registration is suspended or

      5    revoked, then you're unable to sell controlled

      6    substances.




     17    BY MR. KENNEDY:

     18                Q.       And you ended up surrendering your

     19    registration; didn't you?

     20                MS. HENN:     Objection to form.

     21                THE WITNESS:      Counsel, that's not correct.

     22    We had a limited suspension of certain controlled

     23    substances from certain distribution centers, is the

     24    result of the agreement with DEA.

     25    ///

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      1    BY MR. KENNEDY:

      2                Q.       We will look at that specifically.

      3    Let's go down to -- after some bullet points, I want

      4    to go down to the paragraph that starts with

      5    "Through."

      6                Do you see this paragraph that starts with

      7    "Through"?




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      6                Q.       And tell the jury what generic

      7    hydrocodones are.

      8                A.       In all pharmaceuticals or medicines,

      9    as a brand drug comes to market, it stays brand for a

     10    period of time, at which time a generic drug can be

     11    manufactured that has the same pharmacological

     12    characteristics as the brand medication.              So it's

     13    very common in pharmaceutical industry for generics.

     14    Amoxicillin is probably the best example that

     15    everybody would know.

     16                Q.       And, sir, the majority of

     17    hydrocodones that McKesson was selling were generic;

     18    were they not?

     19                A.       I do not know what quantities were

     20    brand versus generic at that point in time.

     21                Q.       In a general sense, that has always

     22    been true at McKesson?         You sell more generics than

     23    you do brand name controlled substances; hasn't that

     24    always be true?

     25                MS. HENN:     Objection to form.

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      1                THE WITNESS:      Again, I don't have any

      2    specific knowledge one way or the other.

      3    BY MR. KENNEDY:




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      7    BY MR. KENNEDY:

      8                Q.       Sir, McKesson had the duty since 1970

      9    to identify and report suspicious orders of

     10    controlled substances; did they not?

     11                A.       I don't know specifically when the

     12    CFR was generated.        It was in the early '70s.         But in

     13    the time that I was there, we had the responsibility.

     14                Q.       And that included generic

     15    hydrocodones, did it not, that duty, that

     16    responsibility?

     17                MS. HENN:     Objection to form.       Lacks

     18    foundation.

     19                THE WITNESS:      We were responsible to report

     20    the sales of all pharmaceutical or controlled

     21    substances that were reportable to the DEA.

     22                MR. KENNEDY:      Okay.    I'm going to ask to

     23    strike your answer.        Could you read back my question,

     24    sir.    I want you to listen real careful, and I want

     25    you to answer this question.           Not what you want to

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      1    answer.     I want you to answer what I'm asking this

      2    point forward, if you could.

      3                MS. HENN:     Objection to form.

      4                MR. KENNEDY:      Could you read it back,

      5    please.

      6                     (Record read as follows:        QUESTION:

      7                     And that included generic

      8                     hydrocodones, did it not, that duty,

      9                     that responsibility?)

     10                MS. HENN:     Same objection.       Lacks

     11    foundation.

     12                THE WITNESS:      Hydrocodone -- all hydrocodone

     13    was a reportable controlled substance.

     14    BY MR. KENNEDY:

     15                Q.       Including generic hydrocodone; true?

     16                A.       Including generic hydrocodone, yes.

     17                Q.       Because generic hydrocodone, sir, is

     18    just as addictive as brand-name hydrocodone; is it

     19    not?

     20                MS. HENN:     Objection to form.

     21                THE WITNESS:      I have no expertise on

     22    addiction rates or addiction.           So I can't comment

     23    whether -- one versus the other.

     24    BY MR. KENNEDY:

     25                Q.       They weren't any different

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      1    chemically; were they?

      2                MS. HENN:     Objection to form.

      3    BY MR. KENNEDY:

      4                Q.       Branded versus generic aren't

      5    different chemically?

      6                A.       Generally, my understanding is that

      7    they were very close, if not identical, in terms of

      8    chemical makeup.       But, again, I don't have the level

      9    of expertise to testify absolutely that they were the

     10    same.

     11                Q.       Generic hydrocodone, sir, your

     12    understanding generic hydrocodone was just as likely

     13    to cause an overdose and death as a named brand

     14    hydrocodone; true?

     15                MS. HENN:     Objection to form.

     16                THE WITNESS:      My understanding is that

     17    generic hydrocodone, as it's designed for medical

     18    purposes, it was the same as brand hydrocodone.

     19    BY MR. KENNEDY:




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     19    BY MR. KENNEDY:

     20                Q.       By 2005, though, you understood, did

     21    you not, that hydrocodones were one of the major

     22    causes of addictions in the United States?              You knew

     23    that by 2005; didn't you?

     24                MS. HENN:     Objection to form.

     25                THE WITNESS:      I don't recall, you know,

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      1    specifically having any awareness of hydrocodone

      2    being a national issue in 2005.

      3    BY MR. KENNEDY:

      4                Q.       By 2005, sir, didn't you understand

      5    that hydrocodones were one of the most highly

      6    diverted drugs in this country?

      7                MS. HENN:     Objection to form.       Lacks

      8    foundation.

      9    BY MR. KENNEDY:

     10                Q.       Do you understand that by 2005?

     11                MS. HENN:     Same objection.

     12                THE WITNESS:      I don't -- I don't have any --

     13    any recollection or knowledge of that.

     14    BY MR. KENNEDY:

     15                Q.       So at this point in time, in 2005 to

     16    early 2006, when you have this period where you sell

     17    two million hydrocodones, are you saying that you did

     18    not understand that hydrocodones were one of the most

     19    highly diverted drugs in this country?             You didn't

     20    know that?

     21                MS. HENN:     Objection.     Asked and answered.

     22    Lacks foundation.

     23                THE WITNESS:      I had no knowledge or

     24    understanding of addiction rates of hydrocodone.

     25    ///

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      1    BY MR. KENNEDY:

      2                Q.       You had been selling hydrocodones for

      3    a decade or more, making millions of dollars, and you

      4    didn't understand that; is that your testimony?

      5                MS. HENN:     Objection.     Asked and answered.

      6    Lacks foundation.

      7                THE WITNESS:      In 2005 I had no knowledge and

      8    don't recall.

      9                MR. KENNEDY:      I am going to give you

     10    Exhibit 695.

     11                              (Exhibit No. 695 was marked.)

     12    BY MR. KENNEDY:

     13                Q.       Sir, I'm going to show you --

     14                MS. HENN:     Counsel, this appears to have

     15    been printed without Bates number or confidentiality

     16    stamp.    So we would just ask, for the record, that

     17    those -- the number and the confidentiality

     18    designation be read into the record, if you have it.

     19                MR. KENNEDY:      The Bates numbers?

     20                MS. HENN:     The Bates number, so the people

     21    on the phone know what you're looking at.

     22                MR. KENNEDY:      These are not Bates numbered.

     23    This comes from the U.S. Department of Justice, Drug

     24    Enforcement Administration.

     25                MS. HENN:     Has it not been produced in this

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      1    litigation?

      2                MR. KENNEDY:      Well, I can't tell you I've

      3    got a memory of all 20 million documents produced, so

      4    I really don't know.

      5                MS. HENN:     Okay.

      6    BY MR. KENNEDY:

      7                Q.       Do you see the DEA logo on

      8    Exhibit 695, sir?

      9                A.       Yes, I do.

     10                Q.       Does it say, "U.S. Department of

     11    Justice, Drug Enforcement Administration"; correct?

     12                A.       Yes.

     13                Q.       Do you see the Bates stamp there?

     14    They are -- they are not Bates stamped, but a date

     15    stamp of July 28, 2004; do you see that?

     16                A.       Yes.

     17                Q.       And you were just telling me you

     18    don't think you had knowledge of -- with respect to

     19    the diversion, the addiction of hydrocodones in 2005.

     20    That's what we were talking about; right?

     21                MS. HENN:     Objection.     Asked and answered.

     22    BY MR. KENNEDY:

     23                Q.       Correct, sir?      Is that what we just

     24    were talking about, your knowledge in 2005; right?

     25                A.       That's correct.

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      1                Q.       And then in 2005 you were the boss

      2    with respect to McKesson's regulation, diversion of

      3    controlled substances; correct?

      4                MS. HENN:     Objection.     Lacks foundation.

      5                THE WITNESS:      In the latter part of 2005, I

      6    assumed that responsibility.

      7    BY MR. KENNEDY:

      8                Q.       All right.     And this is July '04.        So

      9    this is -- this is even before that date; right?                So

     10    this is available before that date; all right?

     11                MS. HENN:     Objection to form.

     12    BY MR. KENNEDY:

     13                Q.       Go to page 2.      132 at the bottom,

     14    page 2 up at the top.         The second sentence,

     15    "Despite."       Does it state:

     16                     (Reading) Despite their obvious

     17                     utility in medical practice, as stated

     18                     above, hydrocodone products are among

     19                     the most popular pharmaceutical drugs

     20                     associated with drug diversion,

     21                     trafficking, abuse and addiction (end

     22                     of reading)?

     23                Is it your testimony you did not know that

     24    in 2005?

     25                A.       Counsel, as I answered, I do not

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      1    recall having any specific knowledge of hydrocodone

      2    or this issue.       This is the first time I've seen this

      3    document and had no other personal knowledge.

      4                Q.       Well, you're in charge of Regulatory

      5    in 2005; right?

      6                MS. HENN:     Objection to form.

      7                THE WITNESS:      I assume --

      8    BY MR. KENNEDY:

      9                Q.       Correct?

     10                A.       I assumed responsibility for

     11    Regulatory in September of 2005.

     12                Q.       And McKesson is selling millions upon

     13    millions of hydrocodones in 2005; are they not?

     14                A.       I don't know specifically the

     15    quantities that we were selling.            We sold hydrocodone

     16    as one of the controlled substances we provided to

     17    our licensed pharmacies.

     18                Q.       Look at the first bullet.         And this

     19    is a -- this is in a government available document.

     20    Look at the first bullet, "Hydrocodone has an abuse

     21    liability similar to morphine."

     22                Did you know that?

     23                MS. HENN:     Objection to form.

     24    BY MR. KENNEDY:

     25                Q.       Did you know that in 2005?

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      1                A.       No, Counsel, I -- as I said, I don't

      2    have and did not have any personal knowledge of, you

      3    know, hydrocodone or its comparison to morphine.

      4                Q.       Look at the next bullet, first

      5    sentence.     Now you're in charge of making sure that

      6    hydrocodones as a controlled substance are not being

      7    diverted; correct?

      8                A.       We had the responsibility --

      9                Q.       I asked you about, were you in charge

     10    of that responsibility?

     11                MS. HENN:     Objection to form.

     12                Let the witness finish his answer, please.

     13                THE WITNESS:      I had responsibility for our

     14    regulatory and our compliance, which included

     15    guarding against and preventing -- guarding against

     16    the diversion of controlled substances.

     17    BY MR. KENNEDY:

     18                Q.       Does the next bullet point in this

     19    DEA document say, "Hydrocodone products are

     20    associated with significant diversion"?              Does it

     21    state that?

     22                A.       Paragraph 2, that's what the document

     23    says.    And DEA is alleging, yes.

     24                Q.       You say, "DEA is alleging."          Is that

     25    what you said?       Did you say, "DEA is alleging"?

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      1                A.       This is -- this is their document.

      2                Q.       When you say "allege," you didn't --

      3    there's not much question about that.             This is more

      4    than an allegation.        That's the truth in 2005, from

      5    everything you know, sir?          Fifteen years in this,

      6    that's the truth; is it not?

      7                MS. HENN:     Objection to form.       Lacks

      8    foundation.

      9                THE WITNESS:      Counsel, again, I -- as I

     10    stated, I do not remember having any specific

     11    recollection around discussions either -- or

     12    documents around hydrocodone's addictive and its

     13    comparison to others.

     14    BY MR. KENNEDY:

     15                Q.       I just want to go back.

     16                A.       I'm just simply looking at the

     17    document and trying to answer your question.

     18                Q.       I just want to ask you real simple.

     19    You used the words, "DEA alleges."            Was the problem

     20    in 2005 that you and McKesson thought that these were

     21    just DEA allegations with respect to hydrocodones and

     22    diversion?       Did you think these were just

     23    allegations?

     24                MS. HENN:     Objection to form.

     25    Mischaracterizing the testimony and lacks foundation.

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      1    BY MR. KENNEDY:

      2                Q.       Is that what you thought in 2005,

      3    sir?

      4                A.       Counsel, I was answering your

      5    question specific to this document.             I don't know.

      6    And certainly I'm not sure I can answer the question

      7    as you asked it.

      8                Q.       Next says -- next bullet, first

      9    sentence, "Hydrocodone products are associated with

     10    significant drug abuse."

     11                Did you know that in 2005, as the person who

     12    was in charge of Regulatory?           Did you know that?

     13                MS. HENN:     Objection to form.

     14                THE WITNESS:      Again, I don't recall being

     15    specifically aware of a hydrocodone drug abuse issue.

     16    BY MR. KENNEDY:

     17                Q.       The next bullet:

     18                     (Reading) Poison control data, DAWN

     19                     medical examiner (ME) data and other

     20                     ME data indicate that hydrocodone

     21                     deaths are numerous, widespread and

     22                     increasing in number (end of reading).




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       6                              (Exhibit No. 693 was marked.)

       7    BY MR. KENNEDY:

       8                Q.       Showing you what has been marked as

       9    Exhibit 693.      693, all right, which is No. -497154.

      10                Go to the second page, if you would.             And I

      11    believe this is a document prepared by the DEA and

      12    provided to us by McKesson.

      13                Do you see the chart on page -155?             Do you

      14    see that?

      15                A.       Yes.

      16                Q.       Now, this is McKesson hydrocodone

      17    sales and distributions from October 1, now, to

      18    January 31, a four-month period.            We've been talking

      19    about just 11 days in October.

      20                This is a four-month period; do you see

      21    that?

      22                A.       Yes.

      23                Q.       This is in Florida, just Florida;

      24    all right?



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      23    BY MR. KENNEDY:

      24                Q.       You do know that the DEA gets its

      25    numbers from ARCOS; correct?           The ARCOS database,

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       1    that's where the DEA gets its number; true?

       2                MS. HENN:     Objection to form.

       3                THE WITNESS:      I know that ARCOS is one of

       4    the sources of DEA's data.          But I don't know that

       5    it's exclusive.

       6    BY MR. KENNEDY:

       7                Q.       And tell the jury who provides the

       8    DEA with the ARCOS data on your sales.              Who provides

       9    that to them?

      10                A.       We submit on a monthly basis, as

      11    required by the regulation, the ARCOS data on the

      12    sales of controlled substances that are required to

      13    be reported.

      14                Q.       McKesson gives them the numbers on

      15    what you're selling them; right?

      16                A.       We provide the ARCOS data to DEA.




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       6    BY MR. KENNEDY:

       7                Q.       And that included, number one,

       8    identifying orders of unusual size; correct?

       9                MS. HENN:     Objection to form.

      10                THE WITNESS:      In the suspicious order

      11    regulation, unusual size is called out.

      12    BY MR. KENNEDY:




      23                Q.       Absolutely.      And that's more than

      24    just making sure you're selling to a pharmacy that's

      25    got a license; right?         Correct?

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       1                A.       And report to the DEA.




      13    BY MR. KENNEDY:

      14                Q.       You don't remember that that is the

      15    reason that you got fined $13 million?

      16                MS. HENN:     Objection to form.        Lacks

      17    foundation.

      18    BY MR. KENNEDY:

      19                Q.       You don't remember?

      20                A.       I don't remember or have any

      21    independent knowledge of whether or not any of these

      22    pharmacies ever reported to DEA during that time

      23    frame.

      24                Q.       All right.     Sir, I wrote down some of

      25    the dates of what we have been talking about so we

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       1    can put it all together here, everything we have been

       2    talking about.




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      11                              (Exhibit No. 802 was marked.)

      12                MR. KENNEDY:      Well, sir, let's -- let me

      13    show you Exhibit 686.

      14                              (Exhibit No. 686 was marked.)

      15    BY MR. KENNEDY:

      16                Q.       686 does not have Bates numbers.

      17    Sir, you indicate you don't have any knowledge of

      18    McKesson -- McKesson sending massive amounts around

      19    the country of hydrocodone -- excuse me,

      20    hydrocodones.       This is a Settlement Agreement.           Look

      21    at that first sentence.

      22                     (Reading) This is a Settlement

      23                     Agreement entered into on April 30th,

      24                     2008, between the United States

      25                     Department of Justice, through the

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       1                     United States Attorney's Office, for

       2                     the Districts of Maryland, Middle

       3                     Florida, Southern Texas, Colorado,

       4                     Utah, and Eastern California (end of

       5                     reading).

       6                Do you see that?

       7                A.       I see that.

       8                Q.       And the Settlement Agreement is with

       9    McKesson Corporation; true?

      10                A.       Yes.

      11                Q.       You signed this document; did you

      12    not?

      13                A.       Yes, I did.

      14                Q.       And that's why I'm asking, why is it

      15    that you didn't have any knowledge that this was

      16    going on across the country?           You signed this

      17    document; didn't you?

      18                MS. HENN:     Objection to form.

      19                THE WITNESS:      I signed this document,

      20    Counsel.

      21    BY MR. KENNEDY:

      22                Q.       Let's go to the next page, down to

      23    No. 8 on the next page.         See where it says, on No. 8,

      24    paragraph 8, "The Covered Conduct shall mean the

      25    following alleged conduct"?           Do you see that?

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       1                A.       Yes.

       2                Q.       "A:    Within the District of

       3    Maryland" --       and that's not Florida; right?           Can we

       4    agree that's not Florida?

       5                A.       Maryland is not Florida.

       6                Q.       (Reading) -- from January 2005?

       7                     through October 2006,

       8                     McKesson-Landover sold approximately

       9                     three million dosage units of

      10                     hydrocodone to New Care Pharmacy in

      11                     Baltimore and failed to report these

      12                     sales as suspicious orders to DEA when

      13                     discovered, as required by and in

      14                     violation of 21 C.F.R 1301.74(b), and

      15                     21 U.S.C. 842 (a)(5) (end of reading).

      16                Do you see that?

      17                A.       Yes.

      18                Q.       That's 150,000 hydrocodones a month,

      19    if I did the math right.          Do you see that?       That

      20    would be 30 times the national average?

      21                MS. HENN:      Objection to form.

      22    BY MR. KENNEDY:

      23                Q.       The DEA national average; right?            If

      24    I did my math right.

      25                MS. HENN:      Objection to form.

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       1    BY MR. KENNEDY:

       2                Q.       Do you see that?

       3                A.       Again, if using DEA's average, which

       4    I can neither support or refute, and the dosage units

       5    here, that your math is correct.

       6                Q.       That's Maryland; right?         So let's

       7    go -- No. B, that's the Middle District of Florida,

       8    and that's probably what we've been talking about;

       9    correct?

      10                A.       Yes.

      11                Q.       And then go to C.        Now we're in the

      12    Southern District of Texas; right?             And does it

      13    state:

      14                     (Reading) from February to December of

      15                     2007, McKesson-Conroe sold

      16                     approximately 2.6 million dosage units

      17                     of hydrocodone to Mercury Drive

      18                     Pharmacy and Maswoswe's Alternative

      19                     Pharmacy and failed to report those

      20                     sales as suspicious orders to DEA when

      21                     discovered (end of reading).

      22                Did I read that right?

      23                A.       Yes, you read that correctly.

      24                Q.       And that's over eight months.           And

      25    that would be about 150,000 a month, if I did my math

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       1    right; correct?

       2                A.       If you divide what that says, that

       3    would be correct for the two pharmacies.

       4                Q.       And, again, if the DEA was correct,

       5    and that the national average is about 5,000 a month,

       6    what's this?      About 30 times?       30 times the national

       7    average; right?

       8                MS. HENN:     Objection to form.

       9    BY MR. KENNEDY:

      10                Q.       Correct?

      11                A.       Are you referring to the Texas

      12    pharmacies?

      13                Q.       We're on Texas, yes, sir.

      14                A.       If the math -- but, again, it would

      15    be -- there's two pharmacies involved.              But your math

      16    would be correct.

      17                Q.       And not one order was reported to the

      18    DEA; was it?

      19                MS. HENN:     Objection to form.        Lacks

      20    foundation.

      21    BY MR. KENNEDY:

      22                Q.       Is that right?

      23                A.       I don't have any specific knowledge

      24    of what was or wasn't reported to DEA.

      25                Q.       What does it state here.          "Failed to

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       1    report these sales as suspicious orders to the DEA";

       2    does it say that?

       3                A.       That's what it says.        That was the

       4    allegation.

       5                Q.       Did you sign this?

       6                A.       I did.

       7                Q.       Let's go to D on the next page.            This

       8    is Colorado now.       It states:

       9                     (Reading) With respect to Colorado,

      10                     from September 2005 through November

      11                     of 2007, McKesson-Aurora sold large

      12                     quantities of hydrocodone to three

      13                     Colorado pharmacies (end of reading).

      14                Is that what it states with respect to

      15    Colorado?

      16                A.       That is correct.

      17                Q.       E, now we're in Utah:

      18                     (Reading) From January 2005 through

      19                     October 2007, McKesson-Salt Lake City

      20                     sold approximately 825,000 dosage

      21                     units of hydrocodone, oxycodone,

      22                     Fentanyl and Methadone to the

      23                     Blackfeet Clinic in Browning, Montana

      24                     (end of reading).

      25                Does it state that?

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       1                A.       Yes, that's what it states.

       2                Q.       And, again, failed to report any of

       3    these to the DEA as suspicious orders; true?

       4                MS. HENN:     Objection to form.        Lacks

       5    foundation.

       6    BY MR. KENNEDY:

       7                Q.       Correct?

       8                MS. HENN:     Same objections.

       9                THE WITNESS:      What is written is that

      10    allegation.

      11    BY MR. KENNEDY:

      12                Q.       You signed the document; right?

      13                A.       I signed the agreement.

      14                Q.       And, again, just to backtrack a

      15    second.     The responsibility of McKesson, with respect

      16    to suspicious orders, included identifying orders of

      17    unusual size; true?        Is that true?

      18                A.       As part of the regulation, size is a

      19    factor.

      20                Q.       Part of your responsibility, is to

      21    identify unusual orders of size; correct?

      22                MS. HENN:     Objection to form.

      23                THE WITNESS:      We were responsible for

      24    reporting suspicious orders, which included unusual

      25    size.

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       1    BY MR. KENNEDY:

       2                Q.       Sir, I asked you a "yes" or "no"

       3    question.     And we have a limited amount of time here.

       4    And I know you've been instructed to repeat my

       5    question in your answer to take up time.               But if I

       6    asked you a "yes" or "no" question, I want you to

       7    answer it "yes" or "no" so we can move forward with

       8    this and not waste time having you repeat my question

       9    in every answer, as you've been instructed to.

      10    All right?

      11                MS. HENN:     Counsel, I don't appreciate the

      12    kind of --

      13                MR. KENNEDY:      But it's the truth.

      14                MS. HENN:     -- allegation you're making.

      15                MR. KENNEDY:      It's the truth, and you know

      16    that.

      17                MS. HENN:     You don't know that.         And you're

      18    just arguing with the witness and wasting time.

      19                MR. KENNEDY:      Are you going to deny that

      20    that's the truth?

      21                MS. HENN:     I am --

      22                MR. KENNEDY:      Are you going to deny that

      23    that is the truth of how he has been prepared?

      24                MS. HENN:     Counsel, you know you have no

      25    right to know anything about how he has been

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       1    prepared.     He is here to answer your questions and

       2    has been doing that in good faith, and I suggest you

       3    move on and ask the question.

       4                MR. KENNEDY:      Absolutely.      Because you know

       5    I have no right to know how you have prepared the

       6    witness, you know --

       7                MS. HENN:     Counsel --

       8                MR. KENNEDY:      -- you can get away with

       9    instructing him to repeat my question and every

      10    answer to waste our seven hours.

      11                MS. HENN:     Counsel, you have no basis and no

      12    right to make these allegations and waste time in the

      13    deposition.

      14                Mr. Walker has come from retirement to spend

      15    time answering your questions, and he's doing a

      16    good-faith job of that.         And I suggest we move on

      17    from this tantrum and --

      18                MR. KENNEDY:      It's not a tantrum.

      19                MS. HENN:     -- pay attention to the job at

      20    hand.

      21                If you would like to call the Special Master

      22    and have him review this transcript, I think he will

      23    agree that the witness is doing a fine job of

      24    responding to your argumentative questions, and will

      25    continue to do that throughout the day.

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       1                MR. KENNEDY:      Nobody answers questions in

       2    that fashion unless they are told to do so.                I

       3    don't -- I don't blame him one bit.             He's a gentleman

       4    coming here from his retirement and having to answer

       5    these questions because of the company that he worked

       6    for and what they did to this country.

       7                What I am objecting to is the way you have

       8    instructed this witness to waste our time.

       9                MS. HENN:     Counsel --

      10                MR. KENNEDY:      That's what I am objecting to.

      11    So let's be clear.

      12                MS. HENN:     Are you done with your speech now

      13    so we can move on?

      14                MR. KENNEDY:      I all am done, so let's move

      15    on.

      16                MS. HENN:     Thank you.

      17                MR. KENNEDY:      I hope, I just hope that he

      18    ceases and stops what he is doing.

      19                MS. HENN:     He's not doing anything of the

      20    sort.    And I suggest we focus on the task at hand.

      21    BY MR. KENNEDY:

      22                Q.       Sir, let's now go to California, if

      23    we could.     Does this Settlement Agreement, in

      24    California state, that:

      25                     (Reading) From October of '07 through

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       1                     June of '07, McKesson-West Sacramento

       2                     suffered the theft of significant loss

       3                     of controlled substances on 28

       4                     separate occasions and failed to

       5                     timely submit required theft and loss

       6                     reports to the DEA (end of reading)?

       7                Is that what it states here?           Now, this is

       8    California.

       9                A.       That's what it states.

      10                MR. KENNEDY:      I want you to look at

      11    Exhibit 688.

      12                I'm sorry, 687.

      13                              (Exhibit No. 687 was marked.)

      14                MR. KENNEDY:      687 Exhibit starts with Bates

      15    -00574724 and ends with -4744.

      16                Q.       Mr. Walker, have you seen this

      17    document before?

      18                A.       Yes, I have.

      19                Q.       And this would relate to a meeting of

      20    "Directors of Regulatory"?          Is that what it says?

      21                A.       Yes.

      22                Q.       This would have been in Dallas, March

      23    5-6, 2008; true?

      24                A.       Yes.

      25                Q.       Do you remember who was present at

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       1    this meeting?

       2                A.       I don't remember specifically all the

       3    participants.      I know that our newly-hired Director

       4    of Regulatory Affairs and my Regulatory staff was

       5    there.    But I don't know who else might have been

       6    there.

       7                Q.       And the purpose of the meeting was

       8    what?

       9                A.       As I recall, the purpose of the

      10    meeting was to review with the Regulatory staff and

      11    then expanded the overview of the Memorandum of

      12    Agreement that we were moving forward with.                We

      13    hadn't signed it yet, but we were very close.                So we

      14    had the components.

      15                Q.       That was the Memorandum of Agreement

      16    that we just talked about with the DEA, with the

      17    Department of Justice?

      18                A.       Yes, the same memorandum.

      19                Q.       And it was signed by you, and it was

      20    also signed by Mr. Hammergren, that agreement with

      21    the DEA; was it not?

      22                A.       I'd -- I'd have to look.

      23                Q.       Let me ask you this.        Where -- in

      24    relation to the company in 2008, where were you with

      25    respect to -- Mr. Hammergren was the CEO?

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       1                A.       Yes, he's the CEO.

       2                Q.       Where did you sit in relation to the

       3    CEO in your responsibility as with the VP of

       4    Distribution and Operations?           Where did you sit in

       5    relation to Mr. Hammergren?

       6                A.       Probably best described as not very

       7    close.    But it was several levels, you know, down in

       8    the organization.

       9                Q.       Would you interact with him?           You

      10    were both in San Francisco; right?

      11                A.       There were occasions that I

      12    interacted with Mr. Hammergren.

      13                Q.       What committees did you sit on?            I

      14    know that -- we know your title.            But were you a part

      15    of any management committees at McKesson?               And I'm

      16    talking about the '08 period.

      17                A.       Yes.    So in that time frame in my

      18    role, I was part of the -- I will use your term --

      19    management committee that oversaw -- oversaw the

      20    pharmaceutical business.

      21                Q.       Okay.    So the management committee

      22    that oversaw the pharmaceutical business.               And a

      23    significant part of McKesson's business was the

      24    pharmaceutical business, I assume?

      25                A.       Yes.

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       1                Q.       And when -- who all was on the

       2    management committee of pharmaceuticals?

       3                MS. HENN:     Objection to form.

       4    BY MR. KENNEDY:

       5                Q.       And, again, we're on the 2008 period.

       6                A.       At a -- at a high level, the

       7    president of U.S. Pharma and then individuals that

       8    had leadership positions in sales, inventory,

       9    vendor-manufacturer relationships, HR, and marketing,

      10    I.T.    I mean, sort of --

      11                Q.       Ten members?      Twenty members?

      12                A.       My best recollection is about ten.

      13                Q.       And their responsibility was -- was

      14    what this management committee of U.S. -- this is

      15    U.S. pharmaceuticals?

      16                A.       Yes.    U.S. pharmaceuticals.

      17                Q.       And what was the responsibility of

      18    this management committee that you sat on?

      19                A.       Again, at a high level, it was really

      20    to collaborate to provide overall guidance and

      21    direction.       And there was, you know, the normal

      22    planning/budgeting processes that we went through.

      23                Q.       All right.     Let's -- let's go back to

      24    this meeting, then, that was -- that was held in 2008

      25    with the Directors of Regulatory.

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       1                If you can go to page -- the Bates in the

       2    bottom of -4733.       Did you run this meeting?

       3                A.       Yes, I did.

       4                Q.       Did you prepare these slide

       5    presentations?

       6                A.       Looking at it, I don't specifically

       7    put in the slide presentation.            But it was consistent

       8    with one that I would do.

       9                Q.       All right.     Well, let's look, then,

      10    at this page of the 2008 slide presentation.                And

      11    this is talking about the 2008 Settlement Agreement

      12    that is reached with the Department of Justice and

      13    the DEA; correct?

      14                A.       Correct.

      15                Q.       And this is in relation to what we

      16    have been talking about for the last hour; true?

      17                A.       Yes.

      18                Q.       And does this slide presentation

      19    state that -- the first -- the first bullet, "Six

      20    different McKesson facilities involved"; right?

      21                A.       Yes.

      22                Q.       And we went over those six different

      23    facilities, I think.         Florida, Maryland, Texas, Utah;

      24    correct?     Those are the ones we went through?

      25                A.       That's correct.

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       6                Q.       And does it state, Conroe DC -- that

       7    would be Texas, Conroe?

       8                A.       Yes.




      23    BY MR. KENNEDY:

      24                Q.       Sir, at this point in time, these

      25    allegations, which are 2004, 2005, 2006, at that

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       1    point in time were the suspicious order monitoring

       2    policies of McKesson national?

       3                A.       Yes.    It was a single system.         So the

       4    answer is, yes.

       5                Q.       So the policies and the procedures

       6    that led at least to what you considered to be the

       7    allegations of these extraordinary sales, those

       8    policies and procedures were the same in Maryland,

       9    Ohio, West Virginia, Utah, Florida; would that be

      10    true?

      11                A.       Yes.

      12                Q.       And as the person in charge, sitting

      13    on the top of this, did you make every effort to make

      14    sure that the implementation of the policies and

      15    procedures relating to suspicious order monitoring,

      16    that they were being implemented uniformly across the

      17    country?

      18                MS. HENN:     Objection to form.

      19                THE WITNESS:      Yes, we had a system in place

      20    that was reporting regularly to DEA suspicious

      21    orders.

      22    BY MR. KENNEDY:

      23                Q.       So the answer would be, yes, you, as

      24    the boss, made an effort to make sure that your

      25    policies with respect to suspicious orders were being

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       1    implemented uniformly across the country; true?

       2                A.       Yes.

       3                Q.       You didn't want somebody doing

       4    something different in California than they were

       5    doing in Maryland; did you?

       6                A.       The system was one system.          So the

       7    uniform reporting and report generation was the same

       8    across the country.

       9                Q.       And would I be correct that you had

      10    meetings amongst the Directors of Regulatory Affairs

      11    from different regions, you had meetings and calls to

      12    make sure that the policies with respect to

      13    suspicious order monitoring were being implemented

      14    and used by them uniformly; true?

      15                MS. HENN:     Objection to form.        Lacks

      16    foundation.

      17                THE WITNESS:      Can you clarify the time frame

      18    you're referring to.

      19    BY MR. KENNEDY:

      20                Q.       Again, let's -- the entire time that

      21    you were the head of -- excuse me.             You were the head

      22    of Regulatory.       You would have meetings and

      23    conference calls in an attempt to make sure that your

      24    policies with respect to suspicious order monitoring

      25    were being implemented uniformly across the country;

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       1    right?

       2                A.       Generally I would answer that

       3    question, yes, Counsel.         The reason I asked you the

       4    question about the time frame is at this point this

       5    was the initial meeting that I had with newly-hired

       6    directors.       So prior to that meeting, they would not

       7    have been involved in any of the suspicious orders.

       8    So I want to be accurate in my response to you.

       9                Q.       Okay.    But from '08 forward, while

      10    you were in charge, again, you would have meetings,

      11    you would have memos, you would have calls in an

      12    attempt to make sure that your policies were being

      13    implemented uniformly across the country; true?

      14                MS. HENN:     Objection to form.        Compound.

      15    Lacks foundation.

      16                THE WITNESS:      So subsequent to the 2008

      17    agreement with the regulatory team, we had regular

      18    conference calls, regular discussions to ensure that

      19    we were executing our regulatory responsibilities

      20    uniformly across the country; so yes.

      21    BY MR. KENNEDY:

      22                Q.       You don't want Mr. Oriente in the

      23    East doing something different from Mr. McDonald in

      24    the West, doing something different than Mr. Gustin

      25    in the Midwest; true?

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       1                A.       Generally that would be accurate.

       2                MS. HENN:     Counsel, we have been going about

       3    an hour and ten minutes.          Take another break.

       4                MR. KENNEDY:      I about to switch to a new

       5    topic.    That's good.

       6                THE VIDEOGRAPHER:       We are going off the

       7    record.     The time is 11:31 a.m.

       8                (Recess taken.)

       9                THE VIDEOGRAPHER:       We are back on the

      10    record.     The time is 11:49 a.m.

      11    BY MR. KENNEDY:

      12                Q.       All right.     Mr. Walker, it's still

      13    Eric Kennedy after our break.           I know you might be

      14    disappointed, but it's still me.

      15                I'm going to switch gears.          I want to talk

      16    about the 2008 CSMP, the Controlled Substances

      17    Monitoring Program.         You remember that program?

      18                A.       Yes.

      19                Q.       That was a program that McKesson

      20    developed and put into place in 2008; is that true?

      21                A.       Yes, that is correct.




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      22                Q.       Let me -- let me show you

      23    Exhibit 672.      And if you keep this exhibit in front

      24    of you even after this series of questions, because

      25    we're going to refer back to this quite a bit,

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       1    all right?

       2                A.       That would be fine.

       3                              (Exhibit No. 672 was marked.)

       4    BY MR. KENNEDY:

       5                Q.       This is the McKesson's 2008

       6    Controlled Substance Monitoring Program; is it not?

       7                A.       What this document is, is a -- the

       8    Operations Manual entry and documentation of how to

       9    execute against the Controlled Substance Monitoring

      10    Program.     That's probably the best way to describe

      11    it.

      12                Q.       Was there any document that McKesson

      13    has that is more comprehensive and detailed with

      14    respect to your suspicious order monitoring system

      15    than this document from the period of 2008 to, let's

      16    say, 2014?       Any document other than this that is more

      17    comprehensive?

      18                A.       Probably this would be the most

      19    comprehensive document.

      20                MS. HENN:     Counsel, just to clarify the

      21    record.     You had referred to this as the 2008

      22    program, but I see it as a 2013 version.               I just want

      23    to make sure the record is clear on that.

      24    BY MR. KENNEDY:

      25                Q.       Okay.    This is the revised version

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       1    that comes into play in 2008; correct?              The original

       2    version is 2008?

       3                A.       Just a moment, Counsel.

       4                MR. KENNEDY:      I was -- this is when it's

       5    printed, 2013.       When it's printed.

       6                MS. HENN:     If you look on one of the last

       7    pages, it will show you the revisions history.

       8                MR. KENNEDY:      All right.

       9                MS. HENN:     And the last revision I see is

      10    from 11-29-2013.

      11                MR. KENNEDY:      All right.

      12                MS. HENN:     Sorry.    March 20th, 2013.

      13    BY MR. KENNEDY:

      14                Q.       And this program came into place, as

      15    I said before, in 2008; did it not?

      16                A.       That is correct.

      17                Q.       And it was revised various times, as

      18    we have seen, up through '13; correct?

      19                A.       Yes.

      20                Q.       And if I make reference to something

      21    here in my questioning that wasn't in existence in

      22    2008, you will let me know; all right?

      23                MS. HENN:     Objection to form.

      24                THE WITNESS:      I will let you know.

      25    ///

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       1    BY MR. KENNEDY:

       2                Q.       All right.     So this is the program

       3    that comes into place, the Controlled Substances

       4    Monitoring Program, in 2008; would that be correct?

       5                A.       Yes.    This is the Controlled

       6    Substance Monitoring Program overview that we would

       7    put in our Operations Manual.

       8                Q.       And we were talking about this

       9    threshold system.        And do you see where it says,

      10    "Purpose"?

      11                A.       Yes.




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       5                MR. KENNEDY:      We will take a look.

       6                              (Exhibit No. 755 was marked.)

       7    BY MR. KENNEDY:

       8                Q.       Showing you Exhibit 755, Bates

       9    -409289 to -299.       Is this the Settlement and Release

      10    Agreement and Administrative Memorandum and Agreement

      11    between McKesson and the Department of Justice and

      12    the DEA?

      13                A.       I understand this to be that, yes.

      14                Q.       And if you will go to Attachment 6,

      15    or Bates No. -298 down at the bottom.              Do you see --

      16    under the -291, is what we're looking for.

      17                And, again, you were a signatory on this

      18    agreement?       Thank you.    Is that correct?

      19                A.       Yes, I was.

      20                Q.       And -291, on Bates -291, if you will

      21    go to that.       And do you see the section, "Obligations

      22    of McKesson"?

      23                You might want to look at the first four

      24    lines.    "Obligations of McKesson."           And these are the

      25    obligations under the agreement that McKesson agreed

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       1    to with the Department of Justice and DEA; right?

       2                Does it state:

       3                     (Reading) McKesson agrees to maintain

       4                     a compliance program designed to

       5                     detect and prevent diversion of

       6                     controlled substances as required

       7                     under the CSA and applicable DEA

       8                     regulations.     This program shall

       9                     include procedures to review orders

      10                     for controlled substances.         Orders

      11                     that exceed established thresholds and

      12                     criteria will be reviewed by a

      13                     McKesson employee (end of reading).

      14                Do you see that?

      15                A.       Yes.

      16                Q.       So the agreement with the DEA

      17    mentions thresholds; correct?

      18                A.       Yes.




      25                Q.       And it states that you're going to

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       1    make informed decisions at McKesson based upon these

       2    established thresholds; true?           That's what your

       3    program states?

       4                MS. HENN:     You're referring to Exhibit 672?

       5                MR. KENNEDY:      Yeah, I'm talking about the

       6    program.     We're not talking about the --

       7                MS. HENN:     It's a different exhibit.

       8                THE WITNESS:      Okay.    Okay.    Can you

       9    repeat --

      10    BY MR. KENNEDY:

      11                Q.       Yes, my question is --

      12                A.       I'm sorry.     I was still --

      13                Q.       -- your agreement with the DEA talked

      14    about thresholds; true?

      15                A.       Correct.




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       8                Q.       All right.     And McKesson -- if we

       9    look at this program and how it's divided up, there

      10    were basically two different groups of customers.

      11    One, the big chain pharmacies, the RNAs, the regional

      12    national accounts; correct?

      13                A.       That's one large customer group.

      14                Q.       And the other major customer group

      15    that's defined in your monitoring program were the

      16    ISMCs, or the independent small, medium chains;

      17    correct?

      18                A.       That was also included.         But that

      19    wasn't the totality of every registrant that we

      20    provided controlled substance to.             So the two groups

      21    that you mentioned in addition to that, would be what

      22    we called our hospital or MHS group.             So these were

      23    hospitals, institutions, surgery centers.               And then

      24    probably the fourth big category was the federal

      25    government.

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       1                Q.       All right.     I'm going to talk about

       2    the two.     I want to talk about the big chain

       3    pharmacies, the RNAs; all right?            And I want to talk

       4    about the smaller chains, the independents and the

       5    smalls; all right?

       6                A.       Yes.




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       3                              (Exhibit No. 676 was marked.)

       4    BY MR. KENNEDY:

       5                Q.       Let me show you Exhibit -- you

       6    were -- you don't think that's accurate, but you

       7    were -- you were the boss at this point in time in

       8    '08; correct?

       9                A.       Yes.

      10                Q.       I'm going to show you Exhibit 676.

      11    And that's Bates -542108 to -110.

      12                This is an email from Tom McDonald.             Do you

      13    see that?     The first page.

      14                A.       Yes.

      15                Q.       And who was Tom McDonald in this time

      16    period of 12 -- or excuse me, 2012?             Who was he?

      17                A.       Tom McDonald was the Director of

      18    Regulatory Affairs for the Western part of the

      19    United States.

      20                Q.       And so he was, what, one of four

      21    directors; true?       Or one of five at that point?

      22                A.       I don't recall specifically whether

      23    we had four or six at the time.            But one of four or

      24    six.

      25                Q.       And he's sending an email to an

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       1    extraordinarily large group of people.              Can you --

       2    are you able to kind of look through that and say

       3    this is -- who this group is?

       4                A.       Based on the names here, this is a

       5    combination of our sales and operations teams in the

       6    West Region.

       7                Q.       And you're copied on this; right?

       8    Donald Walker, CC.

       9                A.       Yes, I am.

      10                Q.       So you would have gotten this; right?

      11                A.       Yes.

      12                Q.       Subject, "Ongoing due diligence, new

      13    questionnaires and dispensing data."             Do you see

      14    that?

      15                A.       Yes.

      16                Q.       It says high -- importance is high;

      17    right?

      18                A.       Yes.

      19                Q.       Look to the next page, if you would,

      20    -109, all the way toward the bottom, the paragraph

      21    that starts with, "Additionally."

      22                A.       Can I have a moment just to review

      23    the rest of the document?

      24                Q.       Sure.

      25                A.       I'm not --

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       1                (Witness reviewing document.)

       2                A.       Okay.

       3                Q.       Look at the paragraph.         This is

       4    Mr. McDonald.      You're copied on this.          The paragraph

       5    that starts, "Additionally."

       6                He states:




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       8    BY MR. KENNEDY:

       9                Q.       And tell the jury, dispensing data

      10    from a pharmacy, what is that?

      11                A.       The data that a pharmacy may or may

      12    not provide was data around the quantities of a given

      13    pharmaceutical or medicine that they would dispense.

      14    So it was a summary document.

      15                Q.       So dispensing data is going to tell

      16    McKesson how much the CVS store on Main Street, how

      17    much Oxycontin they are selling; right?              That's what

      18    it would tell McKesson; correct?

      19                A.       I can't answer that accurately,

      20    Counsel, because your example of a CVS store would

      21    not be an example of that.

      22                Q.       All right.     Okay.     Take CVS out.

      23                A.       I'm trying to answer you accurately.

      24                Q.       Let's talk about an independent

      25    pharmacy on Main Street.          They provide you with

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       1    dispensing data.       It's going to tell McKesson how

       2    much Oxycontin that they are selling, actually

       3    dispensing, filling prescriptions and dispensing;

       4    that's what dispensing data is?

       5                MS. HENN:     Objection to form.

       6                THE WITNESS:      Dispensing data should

       7    represent that, yes.

       8    BY MR. KENNEDY:

       9                Q.       So Mr. McDonald, head of the Western

      10    Region, in this email he says:




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      11    BY MR. KENNEDY:

      12                Q.       I understand.      We know that to be

      13    true, because we're reading the document.               I'm asking

      14    about your opinion.        You were the boss.        You were

      15    above Mr. McDonald.        You were the one that was in

      16    charge of the implementation of the policies and

      17    procedures at McKesson.

      18                Do you agree, Mr. Walker, as being the boss?

      19    Do you agree with his statement?

      20                MS. HENN:     Objection to form.

      21    BY MR. KENNEDY:

      22                Q.       And he states:




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       7                Q.       And he's in charge -- Mr. McDonald is

       8    in charge of the Western Region.            How many states did

       9    that include?      What states?

      10                A.       If there were just four of the DRAs

      11    at the time, he would have had the western states,

      12    and from Colorado, north to Wyoming, south to

      13    Arizona -- I can't remember -- New Mexico west.

      14                Q.       California?

      15                A.       California.

      16                Q.       Arizona?

      17                A.       California, Arizona, Oregon,

      18    Washington, Colorado, New Mexico.

      19                Q.       He's in charge of thousands of

      20    pharmacies, thousands of customers; is he not?

      21                A.       There -- there were a lot of

      22    pharmacies in the west.




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       6    BY MR. KENNEDY:

       7                Q.       All right.     We will look at documents

       8    in a minute.      But I'm going to write that down.

       9    All right.

      10                So I wrote dispensing -- I wrote your name,

      11    Mr. Walker, "Dispensing data does not include cash

      12    payment information."         Is that your -- is that your

      13    testimony?

      14                MS. HENN:     Objection to form.

      15                THE WITNESS:      That was not my testimony.

      16    What I said is your question statement was not

      17    accurate.

      18    BY MR. KENNEDY:

      19                Q.       If you get dispensing data from a

      20    pharmacy, you're going to be able to see cash

      21    payments; are you not, sir?

      22                A.       Not necessarily.

      23                Q.       In many instances will you be able to

      24    see that, sir?

      25                A.       If -- if the pharmacist chooses to

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       1    enter a cash payment in their pharmacy terminal

       2    system where this data originates, then, yes, it will

       3    show up.

       4                Q.       All right.

       5                A.       If he chooses not to do that, it

       6    won't show up.

       7                Q.       All right.     And so you're getting

       8    dispensing data.       And if the pharmacist is putting

       9    cash payments in, all right, you're going to be able

      10    to see cash payments -- correct? -- from what you

      11    just said, if the pharmacist is entering it; true?

      12                MS. HENN:     Objection to form.

      13    BY MR. KENNEDY:

      14                Q.       True?

      15                A.       If the pharmacist enters it into the

      16    pharmacy terminal system, we would see that.

      17                Q.       And a certain percentage of cash

      18    payments for opioids for narcotics is evidence of

      19    diversion; is it not?

      20                MS. HENN:     Objection to form.

      21                THE WITNESS:      The DEA identified cash

      22    payment percentage as a potential indicator.

      23    BY MR. KENNEDY:

      24                Q.       All right.     And if you get dispensing

      25    data, as indicated in this memo, it's going to tell

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       1    you who the prescribing doctors are; is it not?

       2                MS. HENN:     Objection to form.

       3                THE WITNESS:      If the data is complete, we

       4    would see the doctors -- generally see the doctors in

       5    the dispensing data.

       6    BY MR. KENNEDY:

       7                Q.       And that would allow McKesson to

       8    determine whether a small group of doctors is

       9    prescribing a large amount of opioids; correct?                 You

      10    would be able to do that if you had the dispensing

      11    data; true?

      12                MS. HENN:     Objection to form.

      13                THE WITNESS:      I'm not sure I can answer that

      14    accurately.      Generally, if the physicians are in

      15    there and the data was complete, not -- our challenge

      16    was, is the data wasn't always complete.               So I'm

      17    reluctant to say that that is accurate.

      18    BY MR. KENNEDY:

      19                Q.       If you have accurate prescribing

      20    data, McKesson would be able to determine whether a

      21    small group of doctors is ordering a large percentage

      22    of the opioids from that pharmacy; correct?                You're

      23    able to do that?

      24                A.       If the data was accurate, yes.

      25                Q.       And the DEA told you back in '06 that

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       1    that's one of the things that you should look for;

       2    true?    Back in '06 they told you?

       3                MS. HENN:     Objection to form.        Lacks

       4    foundation.

       5                THE WITNESS:      Repeat your question, Counsel.

       6    BY MR. KENNEDY:

       7                Q.       And the DEA told you back in 2006

       8    that's one of the things you should look for, a small

       9    number of doctors ordering a large percent of the

      10    opioids from a pharmacy?          That's one of the things

      11    you should look for?

      12                A.       My recollection of the document, the

      13    documents state that is one of the areas that they

      14    outlined.

      15                Q.       And if you had the doctor's name from

      16    the prescribing -- or the prescribing data, you

      17    could -- McKesson could research as to whether or not

      18    this physician was having problems with any medical

      19    board; couldn't you?

      20                MS. HENN:     Objection to form.

      21    BY MR. KENNEDY:

      22                Q.       If you had that data?

      23                A.       I believe, Counsel -- I didn't

      24    specifically make any type of inquiries myself, but

      25    my understanding was, is that we -- you had the

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       1    ability to identify any doctors if, in fact, there

       2    was documentation on state medical board sites.

       3                Q.       And if you got the dispensing data,



       5    you can now actually see if a pharmacy is purchasing

       6    opioids from other distributors, other than just

       7    McKesson; correct?

       8                MS. HENN:     Objection to form.        Lacks

       9    foundation.

      10                THE WITNESS:      I don't recall that we had the

      11    ability or felt we had the ability to determine

      12    multiple distribution -- distributors supplying a

      13    pharmacy through dispensing data.

      14    BY MR. KENNEDY:

      15                Q.       Let me ask you this.        If the

      16    dispensing data says that a particular pharmacy is

      17    dispensing, selling 1,000 Oxycontins in a month, and

      18    your records say you're selling them only 500, then

      19    you can reasonably conclude that they are getting

      20    Oxycontins from somebody other than just McKesson;

      21    right?

      22                MS. HENN:     Objection.      Calls for

      23    speculation.

      24                THE WITNESS:      Counsel, there are so many

      25    variables in pharmacy behavior, in terms of inventory

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       1    management, again, it's very difficult for me to

       2    answer accurately whether that could take place.

       3    BY MR. KENNEDY:

       4                Q.       If you have the dispensing data,

       5    McKesson would be able to determine the percentage of

       6    controlled substances against total prescriptions?

       7    They would be able to calculate that, wouldn't they?

       8                MS. HENN:     Objection.      Lack of foundation.

       9    Speculation.

      10                THE WITNESS:      Counsel, I'm having a

      11    difficult time answering the question.              I think it's

      12    an oversimplification of analysis of the value of

      13    this dispensing data.

      14                As I stated, it was a very valuable tool to

      15    us, but it was a single tool.           We had other data

      16    points that we needed to understand.

      17    BY MR. KENNEDY:

      18                Q.       Isn't that exactly one of the things

      19    that the DEA told McKesson in 2006 you ought to be

      20    looking to, the percentage of controlled substances

      21    that a pharmacy was selling against its total

      22    prescription sales?        Isn't that one of the specific

      23    items that DEA informed you in 2006 you should be

      24    looking at?

      25                MS. HENN:     Objection.      Lack of foundation.

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       1    BY MR. KENNEDY:

       2                Q.       Correct?

       3                A.       My recollection, was that the

       4    percentage of controlled substance sales were a point

       5    of indication.

       6                MR. KENNEDY:      All right.      So we've got




       9    look to another region, all right?             Let's look to

      10    Exhibit 680.

      11                              (Exhibit No. 680 was marked.)

      12                MS. HENN:     Thank you.

      13    BY MR. KENNEDY:

      14                Q.       Exhibit 680 is -492821 to -492823.

      15    This is an email from Dave Gustin; correct?

      16                A.       Yes.

      17                Q.       Tell the jury who Dave Gustin was?

      18                A.       Dave Gustin was the Director of

      19    Regulatory Affairs, DRA, for the Central Region.

      20                Q.       And the Central Region, how many

      21    states are in the Central Region?

      22                A.       I don't know specifically the number

      23    of states going from memory here, but it's basically

      24    the Midwest, stretching down into Kentucky.                So Iowa,

      25    Nebraska, Minnesota, Illinois, Indiana.

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       1                Q.       Well, between Mr. McDonald now and

       2    Mr. Gustin, they probably account for more than half

       3    of the country; would that be right?

       4                A.       Certainly half the geography.

       5                Q.       Thousands of pharmacies; right?

       6                A.       There would be a large number of

       7    pharmacies in that area.

       8                Q.       And Mr. Gustin -- now, this is

       9    1-16-12.     This is about the same time of McDonald's

      10    email talking about dispensing data.             And can you

      11    tell us who's this large group of people that he

      12    seems to be sending this email to?

      13                A.       This appears to be the North Central

      14    Region Sales and Operations teams.

      15                Q.       Look at the next page, if you would.

      16    See on the next page, a January 5, 2012, email from

      17    Dave Gustin?

      18                A.       Yes.

      19                Q.       Another large group of people?

      20                A.       Yes.

      21                Q.       In the first paragraph does he state:




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       9                Q.       So he's talking about requirements,

      10    and he's talking about the Controlled Substances

      11    Monitoring Program of 2008; true?

      12                A.       Yes.

      13                Q.       And that program applied nationally;

      14    did it not?

      15                A.       Yes, it did.

      16                Q.       Look at the next page, if you would,

      17    page -23.     In big capital letters, "Dispensing data."

      18    Do you see that?

      19                A.       Yes.

      20                Q.       Now, this is Mr. Gustin, and he is

      21    the Director of Regulatory Affairs for the entire

      22    North Central Region of the United States; true?

      23                A.       Yes.

      24                Q.       And he states, and he seems -- maybe

      25    he's parroting Mr. McDonald.           But now he is writing

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       1    to his region:




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       7    BY MR. KENNEDY:

       8                Q.       All right.      Well, look at -- look at

       9    your Controlled Substances Monitoring Program, if you

      10    would, the program you put in place in 2008, which is

      11    Exhibit 672?      Back to 672, if you could.

      12                MS. HENN:     The 2013 version?

      13                MR. KENNEDY:      Yes.

      14                THE WITNESS:      I see it.

      15    BY MR. KENNEDY:




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       1    BY MR. KENNEDY:

       2                Q.       Let's go back, then, if we could, to

       3    Exhibit 680.      This is Mr. Gustin, from the North

       4    Central Region; correct?

       5                A.       Yes.

       6                Q.       And he's writing his region.           And if

       7    we look to bullet point 2, he states:




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      24                MR. KENNEDY:      Let's look at 681,

      25    Exhibit 681.

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       1                              (Exhibit No. 681 was marked.)

       2    BY MR. KENNEDY:

       3                Q.       Showing you what has been marked as

       4    Exhibit 681, which is -490953 to -54.              Now, this is




       7    we have an email by Joe Lumpkin.

       8                Who was Joe Lumpkin?

       9                A.       Joe Lumpkin was one of two of our

      10    DRAs that we assigned to the Northeast Region.

      11                Q.       And, now, on November 30, 2012, he

      12    sends an email to a large group of people; does he

      13    not?

      14                A.       Yes.

      15                Q.       And he says, "Northeast Team," right,

      16    at the beginning?

      17                A.       Yes.

      18                Q.       And he says, "As of December 1,

      19    please be aware it is required for any ISMC" -- and

      20    that would be the independent small, medium chains;

      21    right?

      22                A.       Yes.

      23                Q.       He says:




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      16    BY MR. KENNEDY:

      17                Q.       And these are exactly the things that

      18    you told us the DEA said to look out for in 2006;

      19    right?

      20                MS. HENN:     Objection.      Lacks foundation.

      21    BY MR. KENNEDY:

      22                Q.       It's now 2012.       The DEA said to

      23    McKesson in 2006, these are some of the things to

      24    look out for?

      25                MS. HENN:     Same objection.

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       1    BY MR. KENNEDY:

       2                Q.       Correct?

       3                A.       I'm not -- I'm not sure I understand

       4    your question, Counsel.         The DEA outlined the items

       5    such as this in 2006, that is correct.

       6                Q.       And my point is, sir, it's six years

       7    later -- it's 2012 -- and the entire Eastern Region

       8    is saying, as of December 1, 2012, six years after

       9    these have been outlined by the DEA, we're going to

      10    start doing this; correct?

      11                MS. HENN:     Objection.      Mischaracterizes the

      12    document.     Lack of foundation.

      13                THE WITNESS:      I wouldn't agree with that

      14    statement.       We had a number of tools we used

      15    throughout the time that we executed CSMP.

      16    BY MR. KENNEDY:

      17                Q.       Sir, other than the dispensing data,

      18    where are you going to get the names of the doctors

      19    prescribing medications?          Where are you getting the

      20    names?

      21                MS. HENN:     Objection to form.

      22    BY MR. KENNEDY:

      23                Q.       Tell us.

      24                A.       I'm not aware of all the potential

      25    sources, but -- that we could get for, you know,

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       1    doctors prescribing.

       2                Q.       Other than the dispensing data, where

       3    are you going to find out what's getting paid for in

       4    cash, sir?       Like the DEA said six years earlier you

       5    ought to look for, where are you going to find that

       6    information without the dispensing data?

       7                MS. HENN:     Objection to form.        Calls for

       8    speculation.

       9                THE WITNESS:      I really don't know.         I

      10    mean --

      11    BY MR. KENNEDY:

      12                Q.       Tell me, how are you going to run

      13    percentages of controlled substances at a particular

      14    pharmacy versus total prescriptions without

      15    dispensing data, sir?         Tell me that.      Where are you

      16    going to get it?

      17                MS. HENN:     Objection to form.

      18                THE WITNESS:      Again, I would -- I would

      19    speculate.       But I would like to clarify that DEA's

      20    guidance in 2006 was percentage of sales of

      21    controlled substances to total pharmacy sales.

      22    BY MR. KENNEDY:

      23                Q.       And where are you going to get that

      24    information other than dispensing data?

      25                A.       We would have that information from a

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       1    sales standpoint.

       2                Q.       Your sales standpoint, not the total

       3    sales; correct?       Your sales --

       4                MS. HENN:     Objection.      Calls for

       5    speculation.

       6    BY MR. KENNEDY:

       7                Q.       -- but not the total sales of a

       8    pharmacy; true?

       9                MS. HENN:     Calls for speculation.

      10                THE WITNESS:      Again, we -- we could look at

      11    the sales record as a percentage of sales to a given

      12    pharmacy.

      13    BY MR. KENNEDY:

      14                Q.       McKesson's data, not the pharmacy's;

      15    true?

      16                MS. HENN:     Objection to form.

      17    BY MR. KENNEDY:

      18                Q.       True?

      19                A.       This was McKesson's data.

      20                Q.       Right.    You can't do it for the

      21    pharmacy because you don't know how many different

      22    folks they are buying from; right?

      23                MS. HENN:     Objection to form.        Calls for

      24    speculation.

      25    ///

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       1    BY MR. KENNEDY:

       2                Q.       Correct?

       3                A.       Again, I don't know that I can answer

       4    because there's a number of different tools that we

       5    could use to understand if a pharmacy was just our

       6    customer.

       7                Q.       Tell me where in 2012, without the

       8    dispensing data, you can find out the total amount of

       9    oxycodone being sold by a particular pharmacy?                Tell

      10    me.

      11                MS. HENN:     Objection to form.        Calls for

      12    speculation.

      13                THE WITNESS:      I don't know.

      14    BY MR. KENNEDY:




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      20                MS. HENN:     I think we are going to have to

      21    go off the record.

      22                THE VIDEOGRAPHER:       We are going off the

      23    record.     The time is 12:44 p.m.

      24                (Lunch recess taken at 12:44 p.m.)

      25                                   --o0o--

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       1    AFTERNOON SESSION                                       1:19 P.M.

       2                                   --o0o--

       3                THE VIDEOGRAPHER:       We are back on the

       4    record.     The time is 1:19 p.m.

       5    BY MR. KENNEDY:

       6                Q.       All right.     Mr. Walker, we've talked

       7    a bit about the independents, the small, medium, the

       8    smaller chains.       I want to switch gears now and talk

       9    to you about what McKesson called the RNAs, or the

      10    regional national accounts; all right?

      11                A.       Yes.

      12                Q.       You're familiar with RNA, regional

      13    national account terminology?

      14                A.       The -- yes, I am.        The correct

      15    terminology is retail national account.

      16                Q.       I'm sorry.     Those would be the big

      17    chains?

      18                A.       Big chains.

      19                Q.       The CVS, the Walgreens, the Walmarts,

      20    the Rite Aids; correct?

      21                A.       That size chain, yes.

      22                Q.       Those are big customers; we agree?

      23    The big chains were big customers to McKesson?

      24                A.       Yes.

      25                Q.       Probably over a billion dollars worth

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       1    of business with big -- big national pharmacies?

       2                MS. HENN:     Objection.      Lacks foundation.

       3                THE WITNESS:      I don't recall the specific

       4    sales volume, but they are large -- they were large

       5    customers.

       6    BY MR. KENNEDY:

       7                Q.       I mean, would you disagree if I were

       8    to say that probably the majority of McKesson's

       9    controlled substance sales were being made to the big

      10    retail national accounts?

      11                MS. HENN:     Objection to form.        Lacks

      12    foundation.

      13                THE WITNESS:      I actually cannot say because

      14    it would be speculative, just due to the business

      15    models of particularly some of the hospital accounts.

      16    BY MR. KENNEDY:

      17                Q.       All right.     Anyway, the big national

      18    accounts made up 16,000-plus individual pharmacies;

      19    does that sound right?

      20                MS. HENN:     Objection to form.

      21                THE WITNESS:      I don't recall specifically

      22    the number of pharmacies that were involved in that

      23    segment.

      24    BY MR. KENNEDY:



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      13    BY MR. KENNEDY:

      14                Q.       Now, with respect to threshold

      15    increases.       We talked about threshold increases in

      16    the smaller chains.        Let's talk about threshold

      17    increases with respect to the big chains.

      18                From time to time McKesson would increase

      19    thresholds for pharmacies that were part of a large

      20    retail account; correct?

      21                MS. HENN:     Objection to form.

      22                THE WITNESS:      Yes, we -- we would increase

      23    thresholds.

      24    BY MR. KENNEDY:



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      17                Q.       Who is Elaine Thomet, if I'm saying

      18    that right?

      19                A.       I'm sorry.     Can you spell the last

      20    name.

      21                Q.       T-h-o-m-e-t.

      22                A.       Thomet.

      23                Q.       Thomet.    I am very sorry.        I wasn't

      24    even close.

      25                Who is she or who was she in this period of

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       1    '08 to, let's say, '14, 2014?

       2                A.       My recollection is Elaine and her

       3    responsibilities during that time frame, she worked

       4    in our retail national account support team.                She was

       5    a -- as I understood it -- I don't remember her

       6    title -- was primarily a liaison, you know, from the

       7    retail national account support team into operations

       8    and others.

       9                Q.       Okay.    She would liaison into

      10    regulatory?

      11                A.       On occasion, I believe that's

      12    correct.

      13                MR. KENNEDY:      Let's look at Exhibit 677.

      14                              (Exhibit No. 677 was marked.)

      15                MR. KENNEDY:      And that is Bates -52132 to

      16    -375.

      17                Q.       I want to look at an email, the top

      18    email on the first page, -72.

      19                A.       I haven't seen this document before.

      20    Could I just --

      21                Q.       Sure.

      22                A.       -- have a moment to familiarize

      23    myself?

      24                Q.       Please.

      25                A.       Thank you.

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       1                (Witness reviewing document.)

       2                A.       Okay.

       3                Q.       If you want to look -- look to page

       4    -74.    That would be the third page in.

       5                And you remember, we've had a discussion

       6    about dispensing data and whether or not that was

       7    required for an increase in a drug threshold for the

       8    smaller independent accounts.           Do you recall that

       9    discussion we had?        Correct?

      10                A.       I'm sorry.     Repeat your question.

      11                Q.       We've -- we've had a discussion --

      12    I've asked you about the requirement for dispensing

      13    data in -- when increasing the threshold of an

      14    independent or smaller chain.           You recall that

      15    discussion?

      16                A.       Yes.

      17                MS. HENN:     Objection to form.

      18    BY MR. KENNEDY:

      19                Q.       So I want to have that discussion now

      20    with respect to the regional national accounts.

      21                If you look to page -74, down at the bottom,

      22    you will see a November 1, 2012, email, it looks like

      23    from Perry Anderson, where it says:

      24                     (Reading) Hi, Dan, quick question.

      25                     See Frank's email below regarding CSMP

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       1                     threshold adjustments (end of

       2                     reading).

       3                That's Controlled Substance Monitoring

       4    Program; right?

       5                A.       Yes.

       6                Q.       And they are asking about threshold

       7    adjustments.       And he says, "Is it common -- common

       8    practice in RNA" -- that would be the big chains;

       9    right?    Right?     RNA?

      10                A.       Yes.

      11                Q.       (Reading) Is it common practice

      12                     in RNA to change thresholds without

      13                     asking for this similar backup, or is

      14                     it more or less done by RNA support

      15                     team behind the scenes for RNA

      16                     accounts (end of reading)?

      17                Now, go back to -74.        And here seems to be

      18    the response.       Dan Jeffries responds:

      19                     (Reading) We do -- we adjust at the

      20                     request of the customer, but we don't

      21                     ask for dispense data (end of

      22                     reading).

      23                Do you see that?

      24                A.       Yes.

      25                Q.       He's talking about the regional

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       1    national accounts.        Was that the policy -- and it's

       2    2012 -- that with respect to increases in the

       3    thresholds for pharmacies that were a part of the big

       4    chains, you did not ask for dispensing data?

       5                MS. HENN:     Objection to form.

       6                THE WITNESS:      Generally we did not ask for

       7    any dispensing data from our retail national account

       8    pharmacies.

       9    BY MR. KENNEDY:

      10                Q.       Go to page -72, the first page.            Now,

      11    this is an email from Elaine Thomet on 11-2-12.                 And

      12    she says:

      13                     (Reading) If it helps, I will add some

      14                     clarification.     What Frank may not

      15                     understand is that with RNA, the big

      16                     accounts, we are able to establish the

      17                     regulatory relationship with their

      18                     headquarters and not at store level

      19                     (end of reading).

      20                Now, that's what we were talking about.              You

      21    were addressing the headquarters as opposed to the

      22    individual stores when it came to the big national

      23    accounts; true?

      24                A.       We used the headquarters.

      25                Q.       She then says:

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       1                     (Reading) After their thresholds have

       2                     been initially set up, based on their

       3                     required usage data or historical

       4                     data, if they were a customer back

       5                     when we implemented the CSMP, then any

       6                     time they exceed their threshold, we

       7                     review it and working with their

       8                     headquarters and our regulatory team,

       9                     determine if the store should be

      10                     allowed an increase.       If the HQs

      11                     agreed, then the presumption is made

      12                     that they have done their due

      13                     diligence.    It also means that we are

      14                     not talking to the direct purchaser --

      15                     that's the individual pharmacy -- but,

      16                     rather, a representative from

      17                     headquarters, preferably in Regulatory

      18                     Loss Prevention, Asset Control,

      19                     et cetera (end of reading).

      20                Do you see that?

      21                A.       Yes.

      22                Q.       And was that basically then the

      23    practice?     If headquarters said a threshold increase

      24    is okay, there was at least -- in the words of

      25    Ms. Thomet, there was a presumption that the

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       1    headquarters of the national chain had done their due

       2    diligence -- had done their due diligence; is that

       3    correct?

       4                A.       It is -- it is correct that we

       5    utilized the retail national chains' headquarters

       6    regulatory and oversight groups to assist us in

       7    ensuring that any threshold increases were

       8    appropriate.

       9                Q.       And you would assume that they did

      10    their due diligence when saying a threshold increase

      11    is okay, according to -- at least to Elaine Thomet?

      12                A.       Based -- based on our discussions

      13    with headquarters and understanding what their

      14    internal procedures were and how they conducted

      15    oversight of their pharmacies, yes.

      16                Q.       No prescribing data was required to

      17    grant a threshold increase for the pharmacy at a

      18    large chain; correct?         We just went through that.

      19    True?

      20                A.       No.

      21                MS. HENN:      Objection to form.

      22    BY MR. KENNEDY:

      23                Q.       And so McKesson, when increasing the

      24    threshold of a pharmacy at a large chain, had no

      25    direct knowledge of the physicians who were writing

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       1    the prescriptions at the pharmacies for the large

       2    national accounts; true?

       3                A.       That is -- that is correct.

       4                Q.       You weren't able to check to see if

       5    any of these physicians had an issue with a medical

       6    board in the large national chains, correct, because

       7    you didn't have their identity?            Couldn't do that;

       8    true?

       9                MS. HENN:     Objection to form.        Calls for

      10    speculation.

      11    BY MR. KENNEDY:

      12                Q.       Correct?

      13                A.       It is probably more accurate to state

      14    that we did not have the detail of their -- of their

      15    prescriptions and the items that would be included in

      16    that prescription data.

      17                Q.       All right.     And that would include

      18    the identity of the doctor; correct?

      19                A.       Presumably, yes.

      20                Q.       It would include the data that would

      21    allow you to accurately run percentages on controlled

      22    purchases versus non-controlled purchases; correct?

      23                MS. HENN:     Objection to form.

      24                THE WITNESS:      We wouldn't have that ability.

      25    ///

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       7                Q.       And the DEA had informed McKesson,

       8    had they not, that a list of pain clinics were a big

       9    problem in our country?         They had told you that; had

      10    they not?

      11                MS. HENN:     Objection to form.        Lacks

      12    foundation.

      13                THE WITNESS:      In a prior meeting and some

      14    communications, the DEA identified pain clinics.

      15                MR. KENNEDY:      Let me show you Exhibit 752.

      16                              (Exhibit No. 752 was marked.)

      17                MR. KENNEDY:      752 is Bates -498169 to -183.

      18                Q.       This is an email from you; is it not?

      19                A.       Yes.

      20                Q.       Dated May 2nd, 2012; is that right?

      21                A.       Yes.

      22                Q.       And it looks like you're sending it

      23    out to a variety of the Directors of Regulatory

      24    Affairs and folks in somewhat management positions as

      25    it relates to Regulatory Affairs; right?

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       1                MS. HENN:     Counsel, let me just ask the

       2    videographer, could you please close the door.                Thank

       3    you.

       4                Could you go ahead and repeat that.             I'm

       5    sorry.

       6                MR. KENNEDY:      Yes.

       7                Q.       This email is being sent out by you

       8    in 2012, it looks like, to the DRAs, the Directors of

       9    Regulatory Affairs, and -- maybe just Directors of

      10    Regulatory Affairs; right?

      11                A.       It appears to be restricted to the

      12    regulatory team.

      13                Q.       And if you want to look at -174.

      14    And, again, this is something -- is this a slide,

      15    sir, that you would have prepared?

      16                A.       Yes.

      17                Q.       And at -174, in your slide show, "How

      18    the DEA sees it."        Does it state:




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       6                MS. HENN:     Objection.      Asked and answered.

       7    BY MR. KENNEDY:

       8                Q.       Is that your slide?

       9                A.       This is -- this is a slide that I

      10    created.




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      15                Q.       So the big chain pharmacies represent

      16    16,000 individual pharmacies.           And I can't remember

      17    if we agreed to that number.           Does that sound about

      18    right, 16,000 individual pharmacies for the big

      19    national chains?

      20                MS. HENN:     Objection to form.        Lacks

      21    foundation.

      22                THE WITNESS:      I didn't -- I didn't agree or

      23    disagree.     I just don't know.

      24    BY MR. KENNEDY:



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      10    BY MR. KENNEDY:

      11                Q.       Well, let me ask, did McKesson ever

      12    think that -- let's say, for example, did they ever

      13    think that CVS would report themselves to the DEA?

      14                A.       I'm not sure I understand that

      15    question.

      16                Q.       Did McKesson ever believe that CVS,

      17    for example, CVS headquarters, would report one of

      18    their own pharmacies to the DEA?

      19                A.       I can't answer the question.           I

      20    don't -- I don't know.

      21                Q.       I mean, did CVS ever sit there and

      22    say, well, we think that CVS headquarters will

      23    contact the DEA and tell them we have a pharmacy in

      24    West Virginia that is violating the law, and we think

      25    you should close them down?           Do you think that they

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       1    would ever do that?

       2                MS. HENN:     Objection to form.        Calls for

       3    speculation.

       4                THE WITNESS:      Again, I can't answer what CVS

       5    would or would not do with information that they

       6    received.

       7    BY MR. KENNEDY:




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      12                MR. KENNEDY:      Give me 684.

      13                              (Exhibit No. 684 was marked.)

      14                MR. KENNEDY:      I am going to show you

      15    Exhibit 684, which is McKesson -513746.

      16    BY MR. KENNEDY:

      17                Q.       This is an email from Elaine Thomet.

      18    And I believe her title was Director of RNA Support

      19    Solutions.       Does that sound right?

      20                A.       Hang on just a moment.         Let me take a

      21    real quick look.

      22                To answer your first question, her title is

      23    Director of Business Process.

      24                Q.       Oh, right.     So she would understand

      25    the process of what you folks were doing?               That's

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       1    kind of what her job was, the process?

       2                A.       I believe that she understood our

       3    processes.

       4                Q.       She sends an email on January 2,




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      23                MR. KENNEDY:      Let me show you Exhibit 685.

      24                              (Exhibit No. 685 was marked.)

      25                MR. KENNEDY:      685 is Bates -498295 to -307.

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       1                Q.       Do you remember this document?

       2                A.       Yes, I do.

       3                Q.       And this is a PowerPoint that was put

       4    together for presentation to the DEA; true?

       5                A.       The date of this document is -- and

       6    my understanding of this document, based on the date

       7    here, is that it was a document that we put together

       8    for a review with various DEA field offices and DEA.

       9                Q.       Did you prepare this?

      10                A.       I prepared the original, yes.

      11                Q.       Go to page -302, if you would.           See

      12    where it says, "Level 1 Review"?

      13                A.       Yes.

      14                Q.       That's what we've been talking about

      15    with respect to the large chain pharmacies; right?

      16                A.       Yes.




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      13                MR. KENNEDY:      Give me 682.

      14                              (Exhibit No. 682 was marked.)

      15                MR. KENNEDY:      Let me show you Exhibit 682.

      16                Q.       This is a graph of data that we put

      17    together, all right?         And it is based upon -- I will

      18    tell you, it is based upon McKesson's transaction

      19    data and sales that they provided to us.               All right?

      20                And so let me ask you, Rite Aid, was that a

      21    big national account, one of the big retail RNA

      22    accounts at McKesson?

      23                A.       Rite Aid was and is a large customer

      24    of McKesson.



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       3                MS. HENN:     And, Counsel, I will just note

       4    for the record that this data is all produced highly

       5    confidential, and this should be marked when you

       6    create exhibits with that information.

       7                So we will ask that the court reporter mark

       8    this 682 as highly confidential.

       9    BY MR. KENNEDY:




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      19                MR. KENNEDY:      Give me 678.

      20                              (Exhibit No. 678 was marked.)

      21    BY MR. KENNEDY:

      22                Q.       I am going to show you Exhibit 678,

      23    which we don't have Bates numbers on.              Let me give

      24    you this.     It's 445881-4.

      25                If you go down to the bottom, this is an

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       1    email by Elaine Thomet again, July 17, 2014.                I want

       2    to see if you agree with this.            Do you see the second

       3    page?

       4                A.       Hang on just a moment.         Let me just

       5    take a quick look.

       6                Okay.    Counsel, you directed me to the

       7    second page?

       8                Q.       Yes.    Look at the second page, the

       9    big letters.      I mean, you just looked at it.            She

      10    is -- she's talking about setting up informational

      11    phone calls; is she not?

      12                A.       Yes.




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      19    BY MR. KENNEDY:

      20                Q.       Well, let me just -- well, first,

      21    tight controls.       You understand CVS was fined

      22    $130 million with respect to violations of the

      23    Controlled Substances Act, $130 million fines, as you

      24    tell us they had these very, very tight controls?

      25    You knew that in your position, didn't you?

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       1                MS. HENN:     Objection to form.        Lacks

       2    foundation.

       3    BY MR. KENNEDY:

       4                Q.       You knew that; did you not?

       5                A.       I was aware CVS had paid some

       6    penalties.       I don't recall the amount nor do I recall

       7    the events or the issues.




      13                Q.       And proxy means you are giving

      14    someone else authority to act for you; is that what

      15    it means?

      16                MS. HENN:     Objection to form.        Calls for

      17    speculation.

      18                THE WITNESS:      Generally, I would understand

      19    that.

      20    BY MR. KENNEDY:




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      24                Q.       It's 2014, all right, when she is

      25    saying that.      2014 is the date of this, is it not,

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       1    for this educational webinar?

       2                MS. HENN:     Objection to form.

       3    BY MR. KENNEDY:

       4                Q.       Is that right?

       5                MS. HENN:     Mischaracterizes the document.

       6    BY MR. KENNEDY:

       7                Q.       2014?

       8                A.       The document is dated in 2014.




      19                Q.       And it's eight years after the DEA

      20    told McKesson this is what diversion looks like;

      21    right?    Eight years?

      22                MS. HENN:     Objection to form.        Lacks

      23    foundation.

      24    BY MR. KENNEDY:

      25                Q.       Eight years, sir?

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       1                MS. HENN:     Mischaracterizes the document.

       2                THE WITNESS:      I think better -- a better

       3    characterization there is that it was eight years

       4    after DEA identified issues with Internet pharmacies.

       5    They didn't reveal all of this -- these issues.

       6                And, frankly, as we evolved our program and

       7    gained additional information and additional

       8    knowledge and ability to utilize data, we expanded

       9    our enforcement and -- well, not enforcement, but our

      10    oversight effort in every way that we could.

      11    BY MR. KENNEDY:




      23    BY MR. KENNEDY:

      24                Q.       And it took you eight years?

      25                MS. HENN:     Same objection.

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       1    BY MR. KENNEDY:

       2                Q.       Eight years to modify your program

       3    after being told by the DEA this is important

       4    information to have in identifying suspicious orders

       5    and diversion; correct?

       6                MS. HENN:     Objection.      Lacks foundation.

       7    Mischaracterizes the documents.

       8    BY MR. KENNEDY:

       9                Q.       Is that right, sir, eight years to

      10    develop it?

      11                A.       It is eight years between 2006 and

      12    2014.    But it is not correct that DEA identified all

      13    the issues and all the information that we have

      14    discussed in terms of prescription data.               And during

      15    that time frame, prescription data resources and

      16    capabilities increased significantly with technology.




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      13    BY MR. KENNEDY:

      14                Q.       Sir, let me ask you this.          You're

      15    familiar with the Controlled Substance Act of 1970;

      16    is that right?

      17                A.       Yes.

      18                Q.       And then the regulations we've talked

      19    about after that relating to suspicious order

      20    monitoring that came into effect, I think, in 1971?

      21    We spoke about that regulation; true?

      22                A.       Yes, I'm familiar with that.

      23                Q.       Did the United States Congress ever

      24    say that McKesson could give the pharmacies and the

      25    big national accounts their proxy and allow them to

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       1    monitor themselves?        Did Congress ever state that?

       2                MS. HENN:     Objection to form.        Calls for

       3    speculation.

       4                THE WITNESS:      Ask the question again,

       5    Counsel.     I'm not sure I understand what you're

       6    asking.

       7    BY MR. KENNEDY:




      25    ///

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       1    BY MR. KENNEDY:

       2                Q.       Sir, a pharmacy is not a distributor;

       3    correct?

       4                MS. HENN:     Objection to form.

       5    BY MR. KENNEDY:

       6                Q.       With respect to what we're talking

       7    about, some of the pharmacies would distribute to

       8    themselves.      But outside of that, what we're talking

       9    about is, let's say, pharmacies that are not

      10    self-warehousing, they have a duty and a

      11    responsibility under the law as a pharmacy; correct?

      12                MS. HENN:     Objection to form.

      13    BY MR. KENNEDY:

      14                Q.       Is that right?

      15                MS. HENN:     Lacks foundation.

      16                THE WITNESS:      I'm not familiar with pharmacy

      17    legal requirements.        I understand distributor.

      18    BY MR. KENNEDY:

      19                Q.       All right.     But didn't you just tell

      20    us you, as a distributor, were relying upon the

      21    pharmacy and what they were required to do under the

      22    law?

      23                MS. HENN:     Same objections.

      24    BY MR. KENNEDY:

      25                Q.       And now you don't know what their

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       1    requirements are?

       2                A.       What I was answering was the chains

       3    that we're discussing were self-warehousing chains

       4    and had a distributor registration as well as a

       5    pharmacy registration.




      16    BY MR. KENNEDY:

      17                Q.       You understand that the

      18    responsibilities under the law for a pharmacy to

      19    prevent a diversion is different than the

      20    responsibilities under the law of a distributor?

      21    They are different; correct?

      22                A.       I don't understand specifically the

      23    regulations associated with pharmacy.              I've never

      24    reviewed them.       But generally I understand that they

      25    are different.

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       1                Q.       Right.    And the way Congress set this

       2    up, because they did not want a crisis, is they gave

       3    responsibilities to the distributors, and they gave a

       4    separate responsibility to the pharmacies, a belt and

       5    a suspenders?      It wasn't one or the other.           Congress

       6    wanted both to have responsibilities to prevent the

       7    diversion of dangerous drugs into the communities;

       8    right?    A separate set of responsibilities for each;

       9    correct?

      10                MS. HENN:     Objection to form.

      11                THE WITNESS:      Again, I -- I don't know what

      12    Congress's intent necessarily was.             I understand the

      13    regulation.

      14    BY MR. KENNEDY:

      15                Q.       And you understand the regulation

      16    gave a responsibility and a set of responsibilities

      17    to the two different entities?            Distributors, you've

      18    got your jobs, and pharmacies, you have your job;

      19    correct?

      20                A.       I understand the distributor

      21    responsibilities.

      22                Q.       Nowhere did it ever say that if the

      23    pharmacy has responsibility, us as distributors, we

      24    don't have any responsibility to prevent diversion?

      25    That has never been stated anywhere; correct?

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       1                MS. HENN:     Objection to form.

       2                THE WITNESS:      Again, I -- the regulations

       3    are very clear what our responsibilities are.

       4                MS. HENN:     Counsel, is this another good

       5    time for a break?        It's been an hour.

       6                MR. KENNEDY:      Give me five minutes.

       7                MS. HENN:     Are you comfortable going five

       8    minutes?

       9                THE WITNESS:      That's fine.

      10                MR. KENNEDY:      Let me show you Exhibit 674,

      11    if I could.

      12                MS. HENN:     Thank you.

      13                              (Exhibit No. 674 was marked.)

      14    BY MR. KENNEDY:

      15                Q.       This is Bates -507218 to -507220.

      16    This is an email from Michael Oriente, if you look at

      17    the top.     Who is Michael Oriente?

      18                A.       Michael Oriente was -- was and is the

      19    Director of Regulatory Affairs for the East Region --

      20    Northeast Region.

      21                Q.       So a big responsibility.          He's one of

      22    four/six people; correct?

      23                A.       Yes, at that point in time.

      24                Q.       And at this point in time, he is also

      25    responsible for managing and monitoring some of the

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       1    large national chains; true?

       2                A.       Yes.

       3                Q.       And this is April of 2011.          And does

       4    he state, "Dave" -- and he's sending an email to Dave

       5    Gustin, who is another Regulatory Affairs person;

       6    right?    He's in the Midwest; right?

       7                A.       Yes.

       8                Q.       He also has some responsibility for

       9    these big national chains; right?

      10                A.       Yes.

      11                Q.       And does he state, "Dave, can you ask

      12    RNA" -- and that's the regional national account

      13    portion of McKesson; right?

      14                A.       Yes.




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       5                Q.       And do you know he was responsible

       6    for CVS for a certain portion of time; did you know

       7    that?

       8                A.       I don't recall.

       9                Q.       He was in charge of Rite Aid for a

      10    certain portion of time; do you know that?

      11                A.       I do recall he had responsibility for

      12    Rite Aid.

      13                Q.       Kroger's?

      14                A.       Again, I don't remember all the ones

      15    that he had.

      16                Q.       Costco; do you remember that?

      17                MS. HENN:     Objection to form.        Lacks

      18    foundation.

      19                THE WITNESS:      Again, I don't -- I don't

      20    recall specifically.

      21    BY MR. KENNEDY:




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      16    BY MR. KENNEDY:

      17                Q.       Well, at this point in time -- maybe

      18    there's been change, maybe people are moving around,

      19    but this man, in charge of CVS and Rite Aid and

      20    Costco and Krogers, he doesn't even know who to call;

      21    right?

      22                MS. HENN:     Objection.

      23    BY MR. KENNEDY:

      24                Q.       At this point he doesn't even know

      25    who to call?

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       1                MS. HENN:     Objection to form.        Lacks

       2    foundation.

       3    BY MR. KENNEDY:

       4                Q.       Isn't that what this is saying at

       5    this moment in time?

       6                A.       No, that's not accurate.          I don't

       7    believe that this is that at all.             I think he is

       8    ensuring that he has right information.

       9    BY MR. KENNEDY:




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       9                Q.       Well, not so much interaction that

      10    Mr. Oriente even knows who to call; right?

      11                MS. HENN:     Objection to form.

      12                THE WITNESS:      Again, I think it's simply, as

      13    I read this and understand the question, is more of

      14    an update and clarification of who the contact people

      15    are.

      16                MS. HENN:     Go off the record.

      17                THE VIDEOGRAPHER:       We are going off the

      18    record.     The time is 2:29 p.m.

      19                (Recess taken.)

      20                THE VIDEOGRAPHER:       We are back on the

      21    record.     The time is 2:46 p.m.

      22    BY MR. KENNEDY:

      23                Q.       Mr. Walker, we have been talking

      24    about the large national --

      25                THE VIDEOGRAPHER:       Sorry, Counsel, your

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       1    microphone.

       2                MR. KENNEDY:      Oh, yeah.

       3                Q.       All right.     Let me start all over.

       4    Mr. Walker, we have been talking about the large

       5    national accounts, and I want to talk specifically

       6    about CVS; all right?

       7                A.       Okay.

       8                Q.       CVS was a large national account;

       9    were they not?

      10                A.       CVS is a large national retail chain.

      11                Q.       More than that, CVS, certainly while

      12    you were at McKesson, was -- they were McKesson's

      13    largest customer; were they not?

      14                MS. HENN:     Objection to form.        Lacks

      15    foundation.

      16                THE WITNESS:      I don't recall specifically

      17    where they were.       They were a large customer, but we

      18    were not the sole supplier.           So I don't know exactly

      19    what their position was in our business.

      20    BY MR. KENNEDY:

      21                Q.       Well, you know that in the 2010,

      22    2012, 2014 era, they were a customer purchasing in

      23    excess of $10 billion --

      24                MS. HENN:     Objection to form.        Lacks

      25    foundation.

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       1    BY MR. KENNEDY:

       2                Q.       -- from McKesson?        Did you know that?

       3    $10 billion?

       4                A.       I don't have any specific knowledge

       5    of what their sales volume was then.




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      19                MR. KENNEDY:      We will go through the

      20    refusals.     We will do that at one at a time.

      21                Let's start with 698.         Let's start in 2008

      22    and your discussions with CVS and trying to get them

      23    involved with your monitoring program.

      24                              (Exhibit No. 698 was marked.)

      25                MR. KENNEDY:      -627161 to -162.

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       1                THE WITNESS:      Can I have a minute to review.

       2    I just --

       3                MR. KENNEDY:      Please.     Please.

       4                THE WITNESS:      -- haven't seen the document

       5    before.

       6                (Witness reviewing document.)

       7                THE WITNESS:      Okay.

       8    BY MR. KENNEDY:

       9                Q.       All right.     Let's start at the

      10    bottom.     That's the first email in time.            This is

      11    from Michael Oriente, an email; correct?

      12                A.       Yes.

      13                Q.       And he was one of the Directors of

      14    Regulatory Affairs, who at that time was monitoring

      15    the CVS stores; would that be accurate?

      16                A.       I believe that's correct.

      17                Q.       And it's April 24, 2008.          This is

      18    about the time that you're beginning the

      19    implementation of the monitoring program at McKesson;

      20    true?

      21                A.       Yes, we were implementing.

      22                Q.       And this is an email to you; right?

      23                A.       It's addressed to me.

      24                Q.       And he is recapping a call with CVS

      25    on that day; right?

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       1                A.       Yes.

       2                Q.       And he starts off, "Don" -- and

       3    that's you.      And he states:




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      25                Q.       And, sir, you were -- you were in

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       1    charge of all the regulatory during this period, were

       2    you not, 2010, 2011, and 2012?            You were in charge --

       3                A.       Yes.

       4                Q.       -- correct?




      24                MR. KENNEDY:      We were talking about CVS, I

      25    believe, in April of '08.          Let's go four months

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       1    later, in July of '08.

       2                THE REPORTER:      What number is that?

       3                MR. ASQUITH:      699.

       4                              (Exhibit No. 699 was marked.)

       5    BY MR. KENNEDY:

       6                Q.       I'm going to ask you about page -70?

       7                MS. URQUHART:      Could we get a Bates number?

       8                MR. KENNEDY:      -627168 to -172.

       9                Q.       On page -170 --

      10                A.       Can you just -- I haven't seen this

      11    document.     I am not familiar with it at all.

      12                Q.       Okay.    All right.

      13                (Witness reviewing document.)

      14                A.       Okay.

      15                Q.       Go to page -170, please.          Do you see

      16    there, there is an email from Mr. Oriente, dated

      17    July 22, 2008.       And this email is to you; correct?

      18                A.       Yes.

      19                Q.       And you're responsible for Regulatory

      20    at that point in time; are you not?

      21                A.       Yes, I'm still responsible for

      22    Regulatory.

      23                Q.       And it says:




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       7                Q.       Well, let me ask you this.          What do

       8    you think Viper was monitoring?            Was it monitoring

       9    controlled substances?

      10                MS. HENN:     Objection.      Calls for

      11    speculation.

      12    BY MR. KENNEDY:

      13                Q.       Or you just don't have any idea?

      14                A.       I can't speculate, because I just

      15    don't know.

      16                Q.       Well, this whole email is about the

      17    Controlled Substances Monitoring Program; isn't it?

      18                A.       Yes, it is.

      19                Q.       And it says that CVS has got a

      20    monitoring program.        Do you think they are monitoring

      21    something other than controlled substances?

      22                A.       Again, I don't have any -- any

      23    specific knowledge or -- other than to speculate that

      24    that's about controlled substances.

      25                Q.       So you think that they're talking

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       1    about monitoring toothbrushes?

       2                MS. HENN:     Objection to form.        Asked and

       3    answered.     Calls for speculation.

       4                THE WITNESS:      Counsel, I'm trying to be

       5    clear that I did not and do not understand what Viper

       6    monitored, and, therefore, I can't answer your

       7    question specifically whether it did or did not

       8    include anything other than controlled substances or

       9    whether -- you know, what it oversaw.

      10    BY MR. KENNEDY:

      11                Q.       Well, let me -- this is an email to

      12    you.    You're in charge of Regulatory, which relates

      13    to controlled substances; right?

      14                A.       Yes.

      15                Q.       The topic -- or the subject of the

      16    email is your Controlled Substances Monitoring

      17    Program; correct?        Correct?

      18                A.       Yes.

      19                Q.       They are talking about thresholds and

      20    Threshold Change Requests relating to controlled

      21    substances; are they not?

      22                A.       Yes.

      23                Q.       Right?    They are talking about

      24    thresholds in relationship to controlled substances;

      25    are they not?

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       1                A.       The discussion is around thresholds

       2    and controlled substances.

       3                Q.       And so where it says they have a

       4    monitoring program at CVS, isn't it real easy to

       5    conclude that they are talking about monitoring of

       6    controlled substances when you read this?

       7                MS. HENN:     Objection to form.        Asked and

       8    answered.     Calls for speculation.          Guess.

       9                THE WITNESS:      Counsel, I am trying to

      10    testify to that which I know.           I do not know exactly

      11    what Viper monitored.

      12    BY MR. KENNEDY:

      13                Q.       All right.     And you can't put all of

      14    the content of this email together and conclude that

      15    Viper is monitoring controlled substances?               You can't

      16    do that; is that what you're telling us?               Under your

      17    oath, on the record, you can't put all that together

      18    from this email that you received?

      19                MS. HENN:     Objection to form.        Asked and

      20    answered.     Calling for speculation.

      21                THE WITNESS:      Very clearly, I can only

      22    testify to that which I absolutely know.

      23    BY MR. KENNEDY:




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       5                MR. KENNEDY:      Mark this, please.

       6                THE REPORTER:      803.

       7                              (Exhibit No. 803 was marked.)

       8                MR. KENNEDY:      I show you Exhibit 700.

       9                              (Exhibit No. 700 was marked.)

      10    BY MR. KENNEDY:

      11                Q.       I show you Exhibit 700, which is

      12    -555948 to -950.

      13                (Witness reviewing document.)

      14                Q.       You get an email from Elaine Thomet,

      15    August 26, '08.       We're still talking about CVS, and

      16    it is -- you are copied on this email; are you not?

      17                A.       Yes, I am.

      18                Q.       And it says:

      19                     (Reading) Team, here's the recap from

      20                     our meeting with Don this morning (end

      21                     of reading).

      22                And Don is you; right?

      23                A.       Yes.

      24                Q.       And it says:



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      12                MR. KENNEDY:      All right.      Let's go forward,

      13    then, a couple months into this, in November of '08,

      14    and look at 701.

      15                              (Exhibit No. 701 was marked.)

      16    BY MR. KENNEDY:

      17                Q.       I'm looking at the Elaine Thomet's

      18    email, November 12 of 2008, to you and others.                But

      19    it's sent to you.




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      10    BY MR. KENNEDY:

      11                Q.       And you don't know what Viper is;

      12    right?

      13                A.       I don't remember what Viper is.

      14                Q.       Did anybody ever know what Viper was?

      15                A.       I don't know.

      16                Q.       You don't know.

      17                Would you be surprised to know that Viper is

      18    not a Controlled Substance Monitoring Program for any

      19    controlled substances that CVS purchased from

      20    McKesson?

      21                MS. HENN:     Objection to form.        Lack --

      22    BY MR. KENNEDY:

      23                Q.       Would that be surprising to you?

      24                MS. HENN:     Objection to form.        Lacks

      25    foundation.

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       1                THE WITNESS:      Again, I don't have any

       2    knowledge of Viper, how CVS used Viper, what it did.

       3    I just can't answer your question.

       4    BY MR. KENNEDY:




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      11                MR. KENNEDY:      Let's go to Exhibit 702.

      12                              (Exhibit No. 702 was marked.)

      13                MS. HENN:     Thank you.

      14                MR. KENNEDY:      This is an email from Ned.

      15                MS. URQUHART:      Could we get the Bates

      16    number, please.

      17                MR. KENNEDY:      -627150 to -158.

      18                Q.       This is from Ned McKenna of McKesson;

      19    correct?

      20                A.       Yes.

      21                Q.       And it's being sent to CVS; correct?

      22                A.       Yes.




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       6                Q.       Did you see this document, probably

       7    back in December of '08?

       8                A.       I was copied on it.        I don't -- I

       9    don't recall.

      10                Q.       Go to page -157.       Do you see the "Go

      11    Forward Proposal" on page -157?




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       4                MR. KENNEDY:      Let's look how that worked,

       5    all right?       Give me 703, please.

       6                              (Exhibit No. 703 was marked.)

       7                MR. KENNEDY:      This is Exhibit 703, -535756

       8    to -901.

       9                Q.       I'm going to start with the bottom

      10    email.    That's from Dave Gustin.          All right?

      11                A.       Okay.

      12                Q.       And the subject is, "Hydrocodone

      13    Increase."       We know what hydrocodone is, right, a

      14    controlled substance?         Right?

      15                A.       Yes.

      16                Q.       And it says:




      23                What does that stand for?

      24                A.       I don't know.

      25                Q.       That's related to the hydrocodone;

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       1    right?    So you're going to increase the hydrocodone

       2    THD for WM.      Is that Walmart?

       3                A.       I believe so.




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      20    Now we're two years later with CVS; all right?

      21    Exhibit 704.

      22                              (Exhibit No. 704 was marked.)

      23                MR. KENNEDY:      -512900 to -01 and then -02.

      24                Q.       If you will go to page -- the first

      25    page, -900, Exhibit 704, the bottom email.               That's

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       1    from Rhonda Fargo, that bottom email?

       2                A.       The bottom of -900?

       3                Q.       Yes.

       4                A.       Yes.

       5                Q.       And now it's February of 2010, two

       6    years after the CSMP has been put into place.                And

       7    she's sending an email to different directors in

       8    Regulatory Affairs; correct?

       9                A.       Yes.

      10                Q.       She says:




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       6                MS. HENN:     Objection to form.        Lacks

       7    foundation.

       8                Counsel, we're over an hour.           Take a five-,

       9    ten-minute break.

      10                THE VIDEOGRAPHER:       We are going off the

      11    record.     The time is 3:51 p.m.

      12                (Recess taken.)

      13                THE VIDEOGRAPHER:       We are back on the

      14    record.     The time is 4:07 p.m.

      15                MR. KENNEDY:      I show you Exhibit 713, which

      16    is Bates -627066.

      17                              (Exhibit No. 713 was marked.)

      18    BY MR. KENNEDY:

      19                Q.       Do you see that email?         I just wanted

      20    to look at the last sentence in that email.

      21                A.       I see the email there.

      22                Q.       You're right.      Do you see that

      23    last --

      24                A.       The last sentence at the bottom?

      25                Q.       Yes.    Ned is from -- Ned is from

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       1    McKesson?

       2                A.       Ned is from McKesson.




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      18                MR. KENNEDY:      All right.      And give me

      19    Exhibit 706, please.

      20                              (Exhibit No. 706 was marked.)

      21                MR. KENNEDY:      706, Bates -620748 to -49.

      22                Q.       I want to look at the second email

      23    down from Ned McKenna to Brian Whalen.              And you are

      24    copied.     And this is August 6, 2010.          All right?

      25                A.       Yes.

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       1                Q.       And does that email -- and it's CVS

       2    Action Plans.      That's the subject; true?           Do you see

       3    that?

       4                A.       Yes.

       5                Q.       And it states:




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      10                Q.       This is 2010, two years after the

      11    original CSMP; is it not, sir?

      12                A.       Two years after we implemented.




      20                MR. KENNEDY:      Let's look at the CVS program

      21    and where it led to; all right?            Give me Exhibit 708,

      22    please.

      23                              (Exhibit No. 708 was marked.)

      24    BY MR. KENNEDY:

      25                Q.       The metadata indicates that this is

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       1    from February 8 of 2010.

       2                THE VIDEOGRAPHER:        Sorry, sir.     I think

       3    you're hitting the --

       4                THE WITNESS:      Oh, did it again.

       5    BY MR. KENNEDY:




      18                MR. KENNEDY:      710, Exhibit 710.

      19                              (Exhibit No. 710 was marked.)

      20                MS. HENN:     Are we done with 708?

      21                MR. KENNEDY:      Yes.

      22                MS. HENN:     Okay.

      23    BY MR. KENNEDY:

      24                Q.       Do you see the email -- the email is

      25    from Tom McDonald, 2-8-2010; do you see that?

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       1                A.       And it's a CVS threshold discussion.

       2    And does it say:




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      11                MR. KENNEDY:      That's 2010.      Let's go two

      12    years forward and look at CVS and see how the

      13    threshold system was working.

      14                Let's go to 2012, Exhibit 709.

      15                              (Exhibit No. 709 was marked.)

      16    BY MR. KENNEDY:

      17                Q.       This is from Tom McDonald.          Tom

      18    McDonald, at this point in time, he was the Director

      19    of Regulatory Affairs and was responsible for CVS;

      20    was he not?

      21                MS. HENN:     Objection to form.        Lacks

      22    foundation.

      23    BY MR. KENNEDY:

      24                Q.       2012.

      25                A.       I believe in 2012 Tom McDonald was --

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       1    oversaw CVS.




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      23                Q.       And oxycodone, sir, was at the center

      24    of the opioid crisis in this country by 2012; was it

      25    not?

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       1                A.       In 2012 oxycodone had been identified

       2    as a controlled substance that was being abused.

       3                Q.       Not "a."     "The."

       4                You know well that by 2012 oxycodone was in

       5    the middle of the opioid crisis; was it not?

       6                A.       It was one of the controlled

       7    substances that was of concern being abused.

       8                Q.       Let me ask you:       Not one of; was

       9    oxycodone the number one addictor and killer in the

      10    United States with respect to this opioid crisis by

      11    2012?    Number one; was it not, sir?

      12                MS. HENN:     Objection to form.        Asked and

      13    answered.     And lacks foundation.

      14                THE WITNESS:      I can't answer its position.

      15    What I can absolutely assure you is that there were

      16    other controlled substances that were of concern

      17    across the country for abuse.

      18    BY MR. KENNEDY:




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      18                Q.       And, sir, the law says you stop

      19    shipping until you do your due diligence; isn't that

      20    what the law says?

      21                MS. HENN:     Objection to form.        Lack of

      22    foundation.

      23    BY MR. KENNEDY:

      24                Q.       Right?

      25                A.       No, that --

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       1                Q.       This is 2012.

       2                A.       Can I finish, Counsel.

       3                MS. HENN:     Yes, you can.

       4    BY MR. KENNEDY:

       5                Q.       My question is --

       6                MS. HENN:     Counsel, he would like to finish

       7    his answer.

       8                MR. KENNEDY:      I didn't finish my question.

       9                Q.       Isn't that the law in 2012, you don't

      10    ship if you have a concern?

      11                MS. HENN:     Mr. Walker, do you need the prior

      12    question back so you can answer?

      13                MR. KENNEDY:      It's the same question.

      14                THE WITNESS:      I think I can answer the

      15    question.

      16                MS. HENN:     Okay.

      17                THE WITNESS:      Counsel, there is no

      18    regulation to stop shipping controlled substances.

      19    The regulation requires that we report suspicious

      20    orders.

      21                MR. KENNEDY:      We're going to write this one

      22    down.

      23                Q.       How long has that been your view?            In

      24    2007 -- let's start with 2007 -- was McKesson

      25    required to not ship until it did its due diligence

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       1    on potentially suspicious orders?             Was that required

       2    in 2007?

       3                MS. HENN:     Objection to form.

       4    BY MR. KENNEDY:

       5                Q.       Don't ship until we do our due

       6    diligence?

       7                MS. HENN:     Objection to form.        Lack of

       8    foundation.

       9    BY MR. KENNEDY:

      10                Q.       Was that required of McKesson in

      11    2007, do not ship until we do our due diligence?

      12                MS. HENN:     Same objection.

      13                THE WITNESS:      There is no regulatory

      14    requirement to not ship.          There is a regulatory

      15    requirement to report.

      16    BY MR. KENNEDY:

      17                Q.       All right.     And did the DEA tell you

      18    in 2006 that you are required not to ship until you

      19    do your due diligence on a potentially suspicious

      20    order?    Did they tell you that in '06 in a letter to

      21    McKesson?

      22                MS. HENN:     Objection to form.        Lacks

      23    foundation.

      24    BY MR. KENNEDY:

      25                Q.       Did they tell you that in '06 in a

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       1    letter to McKesson?

       2                A.       In 2006 their guidance and direction

       3    was, do not ship.        And the requirement is at the

       4    point that we determine an order to be suspicious.




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      25                MR. KENNEDY:      I show you 707.

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       1                              (Exhibit No. 707 was marked.)

       2    BY MR. KENNEDY:

       3                Q.       A PowerPoint prepared by you?

       4                MS. URQUHART:      Could we get the Bates

       5    number, please?

       6                MR. KENNEDY:      Pardon me?

       7                MS. URQUHART:      Could we get the Bates

       8    number, please?

       9                MR. KENNEDY:      Just don't interrupt my

      10    question, and I will be right back with you,

      11    all right?

      12                Q.       707, Exhibit 707, is a PowerPoint,

      13    "CVS - Regulatory PowerPoint"; is it not?

      14                THE WITNESS:      This is a -- appears to be a

      15    PowerPoint presentation from McKesson to CVS.

      16    BY MR. KENNEDY:

      17                Q.       So my answer is, "Yes"?         Is the

      18    answer to my question, "Yes"?

      19                MS. HENN:     Objection to form.

      20                THE WITNESS:      It's a McKesson PowerPoint.

      21    You asked if it was a CVS PowerPoint.              It's a

      22    McKesson PowerPoint.

      23    BY MR. KENNEDY:

      24                Q.       Does it say, "CVS - Regulatory

      25    Review"?

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       1                A.       It's a CVS regulatory review.

       2                Q.       Prepared by you?

       3                A.       Yes.

       4                Q.       Bates No. -497980 to -89.          This is

       5    March of 2012?       Is that correct?

       6                A.       Yes, that's the date on the document.




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      18                Q.       And the DEA had been talking to you

      19    about this being important since 2006; right?

      20                MS. HENN:     Objection to form.        Lack of

      21    foundation.

      22                THE WITNESS:      The DEA had identified

      23    prescribing doctors as an area of focus.

      24    BY MR. KENNEDY:



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      19                Q.       And -- and the DEA had been telling

      20    you since 2006, this is important information to have

      21    to identify diversion; correct?

      22                MS. HENN:     Objection to form.        Lacks

      23    foundation.

      24    BY MR. KENNEDY:

      25                Q.       It's six years later.

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       1                A.       DEA had identified cash sales as a

       2    potential indicator.




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      19    BY MR. KENNEDY:

      20                Q.       Let's switch topics.        We will talk

      21    about sales, McKesson, sales and promotion as it

      22    related to the Controlled Substances Monitoring

      23    Program.

      24                Can we agree that sales should have nothing

      25    to do with the Controlled Substances Monitoring

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       1    Program, should not have anything to do with it?                 Do

       2    you agree with that?

       3                A.       Can I clarify, Counsel.         Are you

       4    referring to our sales force?

       5                Q.       Your sales force, your sales

       6    strategy, your sales goal should have nothing to do

       7    with your job as the head of Regulatory to monitor

       8    controlled substances?

       9                MS. HENN:     Objection to form.        Compound.

      10                THE WITNESS:      I would not agree that our

      11    sales force should not be involved in the Controlled

      12    Substance Monitoring Program.           I would agree that

      13    sales never influenced our decisions around our

      14    regulatory responsibilities.

      15    BY MR. KENNEDY:

      16                Q.       Okay.    Well, let's look at that.

      17    Let's look at that.

      18                First of all, how many sales reps -- did you

      19    know how many national sales reps McKesson had,

      20    regional sales manager?         Hundreds?

      21                A.       I'm going to -- it would be a guess

      22    that we had -- it would probably be less -- you know,

      23    150 or less.      I really don't remember exactly.

      24                Q.       And the First Service -- the sales

      25    assistants, the First Service folks that were located

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       1    down in Texas, I think I've read there were a hundred

       2    sales assistants down in Texas; do you recall that?

       3    First Service.

       4                MS. HENN:     Objection.      Objection to form.

       5                THE WITNESS:      Counsel, our -- it's called

       6    Service First.

       7                MR. KENNEDY:      I'm sorry.

       8                THE WITNESS:      Our Service First organization

       9    was not just a sales support organization.               It was

      10    really a customer -- customer service call center.

      11    BY MR. KENNEDY:

      12                Q.       You had the Regional Sales Managers.

      13    How many District sales folks above the -- above the

      14    Regional Sales Managers were there?             If there's 100

      15    to 150 Sales Managers, how many District sales folks

      16    were above them?

      17                MS. HENN:     Objection to form.        Lacks

      18    foundation.

      19                THE WITNESS:      I don't remember specifically

      20    how many there were.

      21    BY MR. KENNEDY:

      22                Q.       How many marketing folks were there,

      23    people that had put together the marketing sales

      24    programs above the -- let's say the District Sales

      25    Manager?     How many were those in that department,

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       1    let's say, nationally?

       2                MS. HENN:     Objection to form.

       3                THE WITNESS:      Our marketing group was not

       4    based in the field.         We had a marketing group that

       5    was headquartered.        I don't remember what the

       6    specific number of marketing people we had.                I

       7    would -- I would estimate, and it would be a pure

       8    estimation, it was probably 35.

       9    BY MR. KENNEDY:

      10                Q.       So you maybe have 150 Sales Managers

      11    across the country, and you've got District Sales

      12    Managers above them.         McKesson has got 35 people

      13    working in marketing.         Is that in San Francisco?

      14    Would that be here?

      15                A.       Yes.    All the marketing at the time

      16    was at our headquarters in San Francisco.

      17                Q.       And you've got a hundred customer

      18    service reps sitting at a call center.              They were

      19    down in Texas; right?

      20                MS. HENN:     Objection to form.        Lacks

      21    foundation.

      22                THE WITNESS:      Our Service First organization

      23    was based in Texas, and we also had a satellite --

      24    and at that time I think we had a satellite in

      25    Phoenix that, again, I can't remember specifically

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       1    how many people were there.

       2    BY MR. KENNEDY:

       3                Q.       And I'm -- I'm -- for what we've

       4    said, I'm counting up close to -- close to 300 people

       5    in marketing and sales at McKesson; would that be

       6    about right?

       7                MS. HENN:     Objection to form.        Lacks

       8    foundation.

       9                THE WITNESS:      Again, I'm concerned about

      10    guessing on the numbers.

      11                MR. KENNEDY:      All right.

      12                THE WITNESS:      But it's --

      13    BY MR. KENNEDY:

      14                Q.       Well, one thing you're not guessing

      15    on back in 2006 or '7, in Regulatory, watching

      16    opioids, there was three; right?            Three people?

      17                MS. HENN:     Objection to form.        Lacks

      18    foundation.

      19    BY MR. KENNEDY:

      20                Q.       Three?

      21                A.       That -- that's not accurate because

      22    our Field Operations Team, our Distribution Center

      23    Managers, and their second in command were also very

      24    heavily involved in regulatory compliance.

      25                Q.       Five hours ago didn't we look at a

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       1    slide you presented to the DEA and said, prior to

       2    2008 our regulatory team had three people?

       3                MS. HENN:     Objection to form.

       4    BY MR. KENNEDY:

       5                Q.       You, Mr. Hilliard, and another

       6    gentleman.       Isn't that the representation to the DEA

       7    on the slide that we looked at six hours ago?

       8                MS. HENN:     Objection to form.

       9    Mischaracterizing the document.

      10                THE WITNESS:      What I was representing in

      11    that document was what our Regulatory Affairs staff

      12    group was.       Again, we very strongly utilized our

      13    Field Operations Teams in terms of our regulatory

      14    compliance, and ensured that at a local level we had

      15    oversight.

      16    BY MR. KENNEDY:

      17                Q.       Sir, McKesson paid a $13 million fine

      18    in 2008; correct?

      19                A.       We paid -- as a result of the

      20    agreement, we paid a penalty of $13 million.

      21                Q.       So the answer would be "Yes"; right?

      22                MS. HENN:     Objection to form.        Asked and

      23    answered.

      24    BY MR. KENNEDY:

      25                Q.       Would the answer be "Yes"?

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       1                A.       We paid the $13 million penalty.

       2                Q.       The answer would be "Yes"; correct?

       3                MS. HENN:     Objection to form.        Asked and

       4    answered.

       5    BY MR. KENNEDY:

       6                Q.       It's a "yes" or "no."         The answer

       7    would be, yes, you paid a $13 million fine; true?

       8                A.       We paid a $13 million penalty.

       9                Q.       Okay.    Maybe I -- would I be

      10    correct -- it's kind of a "yes" or "no."               Simple.

      11    Would I be correct you paid a $13 million penalty in

      12    2008?

      13                A.       That's correct.

      14                Q.       Leading up to that, prior to 2008,

      15    you folks began to meet and discuss the creation of a

      16    new monitoring program; did you not?

      17                A.       Internally?

      18                Q.       Yes.

      19                A.       Yes.




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      13                MR. KENNEDY:      Give me 722, please.

      14                              (Exhibit No. 722 was marked.)

      15    BY MR. KENNEDY:

      16                Q.       You have seen this document before;

      17    haven't you, sir?

      18                A.       Give me a minute.        I don't think

      19    I've -- certainly, if it's an email that I generated.

      20    But I don't remember having seen it.

      21                Q.       Bates No. -543914 to -16.

      22                A.       Okay.

      23                Q.       Go to the last page, -916, because

      24    this is where this exchange begins.

      25                Okay.    You see the email from Gary Hilliard?

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       1    And this is October 23, 2006.           This is during the

       2    period when you're trying to put together your

       3    monitoring program; correct?

       4                A.       Yes, this would be during the time

       5    frame we were creating the IT development for --

       6                Q.       And Gary Hilliard --

       7                MS. HENN:     Did you finish your answer, sir?

       8                THE WITNESS:      The IT development program for

       9    the CSMP.

      10                MS. HENN:     Thank you.

      11    BY MR. KENNEDY:

      12                Q.       Gary Hilliard, at that point he is

      13    the Director of Regulatory Affairs; right?

      14                A.       I believe Gary's title at the time

      15    was Regulatory.       He's on the Regulatory staff, and I

      16    believe that title is correct.

      17                Q.       He states in this email -- do you

      18    know Sharon Mackarness?         Who that is?

      19                A.       I'm familiar with the name.           Sharon

      20    Mackarness was one of our -- the McKesson I.T.

      21    associates who was responsible for pieces of

      22    development and interface with CSMP.

      23                Q.       This is a year-and-a-half before your

      24    monitoring program goes into place; true?

      25                MS. HENN:     Objection to form.

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       1    Mischaracterizes the evidence.

       2                THE WITNESS:      October 2006.      We implemented

       3    in the spring of 2008.         So roughly that time frame.

       4    BY MR. KENNEDY:

       5                Q.       It states:




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      12                MS. HENN:     Objection to form.

      13    BY MR. KENNEDY:

      14                Q.       That's basically what she's saying?

      15    She's responding, and she's asking some I.T.

      16    questions about the establishment of the program?

      17                A.       It appears that she is asking

      18    questions to get the information she needs for system

      19    design.

      20                Q.       And she is -- again, she's

      21    referencing a meeting that occurred that morning,

      22    October 26, 2006; right?

      23                A.       Yes.

      24                Q.       And go to the earlier page, -15.            The

      25    same day Sharon McGinnis -- Mackarness, excuse me,

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       1    from I.T. at McKesson, she writes an email to Gary

       2    Hilliard; correct?

       3                A.       At the bottom of the page, yes.

       4                Q.       And she copies two other folks.

       5    VanderWerf; correct?

       6                A.       Yes.

       7                Q.       And she says, "Gary," right?           Gary?

       8                A.       Yes.

       9                Q.       In the second paragraph she says,

      10    "JD," and that's probably referencing Jean-Dou up

      11    ahead?    Up above, JD?

      12                A.       Yes.

      13                Q.       Do you know JD, who he was?

      14                A.       Another I.T. individual.




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      23                MS. HENN:     Objection to form.        Lacks

      24    foundation.

      25    ///

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       1    BY MR. KENNEDY:

       2                Q.       Isn't that true, sir?

       3                A.       I'm not sure I understand the

       4    question as asked.

       5                Q.       Well, we will go through some detail,

       6    then.

       7                First of all, you knew and understood that

       8    the salespeople at McKesson were paid on commission;

       9    did you not?

      10                A.       Our sales force was -- has a

      11    portion -- my understanding is a portion of their

      12    compensation, there was variable compensation

      13    associated with various programs.

      14                Q.       The more they sold, the more money

      15    they made, very simple; isn't that true?

      16                MS. HENN:     Objection to form.        Lacks

      17    foundation.

      18                THE WITNESS:      To my knowledge, that's not

      19    accurate.     It wasn't -- it's not that simple of a

      20    calculation or process.

      21    BY MR. KENNEDY:

      22                Q.       In fact, didn't you know and

      23    understand that a salesperson could double, could

      24    double their annual income based upon sales?

      25                A.       I don't have any specific knowledge

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       1    on what the percentages or the proportions were.




      17    BY MR. KENNEDY:

      18                Q.       All right.     Salespeople also got paid

      19    if they brought in a new pharmacy, a new customer

      20    into McKesson; didn't they?           They also got paid if

      21    they did that; true?

      22                MS. HENN:     Objection to form.        Lacks

      23    foundation.

      24                THE WITNESS:      Again, I don't have any

      25    specific knowledge of what they were paid.               But I

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       1    believe there was compensation associated with new

       2    business.

       3    BY MR. KENNEDY:

       4                Q.       And, sir, before McKesson -- under

       5    their 2008 program, before McKesson would sell

       6    opioids to a pharmacy, they went through an

       7    on-boarding process; did they not?

       8                A.       Yes.




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       7                Q.       And McKesson knew and you knew and

       8    the salespeople knew that if we bring in a new

       9    customer, number one, I'm going to get a bonus as a

      10    salesperson for bringing in a new customer, and,

      11    number two, my sales are going to increase if I get a

      12    new customer, and I'm going to make more money; you

      13    all knew that, right?

      14                MS. HENN:     Objection to form.

      15    BY MR. KENNEDY:

      16                Q.       You knew that?

      17                A.       Again, I think that's oversimplfying

      18    the sales force compensation.

      19                Q.       Now, also built right into your

      20    program for the salespeople, you told us -- we've




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      19                MR. KENNEDY:      Let's look at Exhibit 730.

      20                I'm going to withdraw that exhibit.             Give me

      21    732, please.

      22                              (Exhibit No. 732 was marked.)

      23    BY MR. KENNEDY:

      24                Q.       Do you see this email?         This is from

      25    you dated 9-17-13; do you see that?

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       1                A.       Yes.

       2                Q.       And the next page says, "Controlled

       3    Substances Regulatory Org Structure."              Do you see

       4    that?

       5                A.       Yes.

       6                Q.       This is created by you?

       7                A.       Yes.

       8                Q.       And this is 2013.        And if you go to

       9    page -500.       Do you see that?      Look at the second

      10    bullet point.       Do you see that second bullet point?

      11                A.       Yes.

      12                Q.       In 2013 you write:




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       8    BY MR. KENNEDY:

       9                Q.       And, sir, over and above these

      10    salespeople that we're talking about, you had -- you

      11    had marketing people at McKesson; did you not?                We

      12    have talked about them.

      13                MS. HENN:     Objection to forms.        Lacks

      14    foundation.

      15    BY MR. KENNEDY:

      16                Q.       There were marketing people at

      17    McKesson; were there not?

      18                A.       Yes, there was a marketing

      19    department.

      20                Q.       And while you were trying to control

      21    the flow of opioids into the communities and the

      22    pharmacy, the marketing people were trying to sell

      23    more opioids; were they not?

      24                MS. HENN:     Objection to form.        Lacks

      25    foundation.

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       1                THE WITNESS:      No, that's not accurate.

       2                MR. KENNEDY:      720.

       3                              (Exhibit No. 720 was marked.)

       4    BY MR. KENNEDY:

       5                Q.       The first email in time is number one

       6    at the bottom.       That's where it starts in time.

       7    -543462 to -63.

       8                This is an email from Scott Mooney, and this

       9    is to you, January 16 of 2008, importance high.                 It

      10    states:




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      11                Q.       Now I want to go to two months later.

      12    Tell the jury what fentanyl is?

      13                A.       Fentanyl is a Schedule 2 narcotic.

      14                Q.       And is it the most powerful,

      15    dangerous of all the narcotics you sell?

      16                MS. HENN:     Objection to form.        Lacks

      17    foundation.

      18    BY MR. KENNEDY:

      19                Q.       Is that true, sir?

      20                A.       I do not know.       I know it's a very

      21    powerful pain control narcotic.

      22                MR. KENNEDY:      714.

      23                              (Exhibit No. 714 was marked.)

      24    BY MR. KENNEDY:

      25                Q.       There's an email down at the bottom.

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       1    Kenneth Ball.      And this is two years after you're

       2    saying we've got to discuss promos.             And he states:




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       3                Q.       Let's look to 2012, two years later,

       4    two years after that 7-19.

       5                A.       Again, Counsel, we would not have

       6    changed any thresholds on any of our customers in

       7    support of any promotions.

       8                Q.       Mr. Walker, you got fined

       9    $150 million in 2018 for changing thresholds; didn't

      10    you?

      11                MS. HENN:     Objection to form.        Lacks

      12    foundation.

      13    BY MR. KENNEDY:

      14                Q.       Is that true?      Did you get fined

      15    $150 million in 2018, McKesson?

      16                A.       I wasn't with McKesson at the time.

      17    I understand that McKesson paid $150 million.

      18                              (Exhibit No. 719 was marked.)

      19    BY MR. KENNEDY:

      20                Q.       Let's go to 719.       We're still on




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      15    BY MR. KENNEDY:

      16                Q.       Let's go to 2013, a year later.

      17                MS. HENN:     Could we just get information

      18    about how much time is on the record at this point?

      19                MR. KENNEDY:      I'm going to finish these, and

      20    then we are done.

      21                MS. HENN:     Yeah, I just want to check.

      22                MR. KENNEDY:      Five minutes left.

      23                MS. HENN:     Good.    But let's get --

      24                MR. KENNEDY:      As soon as I wrap this up.

      25                MS. HENN:     How much time?

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       1                THE VIDEOGRAPHER:       I think it is ten minutes

       2    left.

       3                MS. HENN:     Okay.

       4                              (Exhibit No. 721 was marked.)

       5    BY MR. KENNEDY:

       6                Q.       Let's go to the next.         It's 2013.




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       5                Q.       Do you know how many people

       6    hydrocodone was killing a year at the time of this --

       7    of this promotion in 2013?          Do you know that?

       8                A.       No, I don't have any specific

       9    information on that.

      10                MR. KENNEDY:      Let's look at 718.        We are

      11    still in 2013.

      12                              (Exhibit No. 718 was marked.)

      13    BY MR. KENNEDY:

      14                Q.       This is Exhibit 718, -546932 to -34.




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       4    BY MR. KENNEDY:

       5                Q.       And, sir, when you say you are not

       6    going to change thresholds without justification, let

       7    me ask you very clearly, isn't it true that McKesson

       8    got fined $150 million in a 2018 agreement based upon

       9    conduct, increasing thresholds without

      10    documentations, during this very time period, 2012,

      11    2013, 2014?

      12                MS. HENN:     Objection to form.        Lacks

      13    foundation.

      14    BY MR. KENNEDY:

      15                Q.       Do you recall that?

      16                A.       Counsel, as I -- as I answered, the

      17    agreement or document of 2014 or '15, whatever it

      18    was, I was not with the company.            I have no specific

      19    knowledge of the settlement.

      20                I do know that McKesson paid 150.            I do not

      21    understand or have reviewed the details of that

      22    settlement.

      23                MS. HENN:     Counsel, I think we're about at

      24    time, if you want to ask your last question.

      25                MR. KENNEDY:      All done.

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       1                MS. HENN:     Great.    So I guess we will go off

       2    the record.

       3                THE VIDEOGRAPHER:       We are going off the

       4    record.     The time is 5:34 p.m.

       5                (Recess taken.)

       6                THE VIDEOGRAPHER:       We are back on the

       7    record.     The time is 5:54 p.m.

       8                               EXAMINATION

       9    BY MS. HENN:

      10                Q.       Good evening, Mr. Walker.

      11                A.       Good evening.

      12                Q.       Mr. Walker, you testified earlier

      13    today that you joined McKesson in 1987; is that

      14    correct?

      15                A.       That is correct.

      16                Q.       Before joining McKesson, where did

      17    you work?

      18                A.       Prior to -- immediately prior to

      19    working for McKesson, I worked for a grocery

      20    wholesale distributor, a trucking company.               And then

      21    prior to that, I spent ten years in law enforcement.

      22                Q.       What roles did you play in law

      23    enforcement?

      24                A.       I was a city police officer in a city

      25    in the East Bay of San Francisco.

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       1                Q.       Back to your time at McKesson.           Could

       2    you describe for the jury the various positions you

       3    held at McKesson beginning in 1987.

       4                A.       1987 I joined the company with a

       5    subsidiary company in the transportation group,

       6    transportation and warehousing.            And that company

       7    transitioned to the McKesson Drug Company in roughly

       8    1991.    Was in a staff role for a short period of

       9    time, a staff role in transportation.

      10                Then I became the Distribution Center

      11    Manager in Sacramento, promoted to the Vice President

      12    of Distribution Operations for the Western Region.

      13    It was a newly-created position.

      14                And subsequently, in roughly 1996, I was

      15    promoted to the Senior Vice President of Distribution

      16    for McKesson Pharmaceutical.

      17                Q.       And when did you become Senior Vice

      18    President of Distribution for McKesson

      19    Pharmaceutical?

      20                A.       It was 1996.      I don't remember

      21    exactly when in '96.

      22                Q.       And that was also the position you

      23    held when you retired from McKesson; is that correct?

      24                A.       Yes, it was.

      25                Q.       When did you retire?

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       1                A.       June of 2015.

       2                Q.       You've mentioned today that your

       3    former employer, McKesson, is a wholesale distributor

       4    of pharmaceuticals.        Can you describe how that

       5    business operates at a high level?

       6                A.       At a high level, McKesson, as the

       7    other major distributors operate, we purchase

       8    pharmaceuticals and medicines from the manufacturers.

       9    We virtually warehoused all of the various

      10    medications of manufacturers in our warehouses.

      11                And on a daily basis, we supplied those

      12    pharmaceuticals to pharmacies.            And the major groups

      13    of pharmacies that we had were -- are independent

      14    pharmacies, single owner; or generally our retail

      15    national account customers, which were the large

      16    chains, like Rite Aid, and CVS and Walmart; our

      17    hospital group; and then the federal government.

      18                Q.       And briefly, what were your job

      19    responsibilities as Senior Vice President of

      20    distribution operations at McKesson?

      21                A.       I was the senior staff operations

      22    person for McKesson.         I had the overall

      23    responsibility for the distribution network.

      24                On my staff I had a support team made up of

      25    a Transportation Group, an I.T. Support Group, our

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       1    Regulatory Affairs Group was in there, and I had a

       2    group that was responsible for construction and

       3    building of our distribution centers.

       4                Q.       You mentioned Regulatory Affairs.

       5    What kind of regulatory affairs matters were you

       6    responsible for as Senior Vice President of

       7    operations -- distribution operations, I should say?

       8                A.       McKesson, and the wholesalers as an

       9    industry, are highly regulated.            We have

      10    responsibilities for a number of regulatory

      11    requirements.      The FAA, the Department of

      12    Transportation, DOT, OSHA.          We had hazardous material

      13    requirements.      Certainly we had responsibility for

      14    compliance with DEA regulations.            And various state

      15    and local regulations as well.




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       9                Q.       And you described earlier to

      10    Mr. Kennedy that you had a five-year period, I think

      11    it was, when you ran McKesson's Six Sigma program; is

      12    that correct?

      13                A.       That's correct.       Roughly, in 2000 to

      14    2005 I was not the Senior Vice President of

      15    Operations, Distribution Operations, and did not have

      16    responsibility for Regulatory during that time frame,

      17    but was responsible for our Six Sigma process

      18    improvement.




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      13                MS. HENN:     I'd like to show you an exhibit.

      14    Let's get this marked as 84.

      15                THE REPORTER:      804.

      16                MS. HENN:     804.    Thank you.

      17                              (Exhibit No. 804 was marked.)

      18    BY MS. HENN:

      19                Q.       Mr. Walker, the court reporter handed

      20    you an Exhibit No. -- that's been marked 804.                The

      21    Bates number is -571361 through -65.

      22                MR. KENNEDY:      Counsel, 804, is this a

      23    defense exhibit?

      24                MS. HENN:     It is.

      25                MR. KENNEDY:      Okay.    Defense Exhibit 804.

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       1                THE REPORTER:      I just continued, if that's

       2    okay, on the sequence.

       3                MR. KENNEDY:      Oh, okay.

       4    BY MS. HENN:

       5                Q.       Mr. Walker, do you recognize

       6    Exhibit 804?

       7                A.       Yes, I do.

       8                Q.       What is Exhibit 804?




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      20                Q.       Mr. Kennedy had a lot of questions

      21    for you earlier today about a 2008 Settlement

      22    Agreement between McKesson and the DEA.              Do you

      23    recall those questions?

      24                A.       Yes.



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       5                Q.       Did the 2008 Settlement Agreement

       6    have provisions in it about what was to replace the

       7    DU45 reporting?

       8                A.       Specifically in the Settlement

       9    Agreement, it was agreed that there would be a

      10    significant change in suspicious order reporting.

      11    That at an agreed-upon time, we would cease providing

      12    them a -- the DU45 suspicious order reporting, and we

      13    would replace it with a format that was mutually

      14    agreed upon between the two parties.

      15                And probably the most significant change was

      16    that we would no longer report suspicious orders to

      17    field offices, as stated in the regulation because,

      18    in fact, that we would be reporting directly to DEA

      19    headquarters.      And from that, we recognized that

      20    there would be a mutual effort from the two I.T.

      21    groups, being DEA and McKesson, to develop the

      22    system's interface to execute the suspicious order

      23    reporting.

      24                MS. HENN:     I'd like to mark as Exhibit 805,

      25    Defense Exhibit 805, a copy of the Settlement and

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       1    Release Agreement from 2008.

       2                               (Exhibit No. 805 was marked.)

       3    BY MS. HENN:

       4                Q.       Mr. Walker, do you recognize

       5    Exhibit 805?      The Bates number is -516360.

       6                A.       Yes, I do.

       7                Q.       Were you involved -- or let me just

       8    ask you, what was your involvement in the process

       9    that led to this 2008 Settlement Agreement with the

      10    DEA?

      11                MR. KENNEDY:      Okay.    Just to interrupt.

      12    This has already been marked, do you understand?                 So

      13    you have -- this exhibit will be marked twice?

      14                MS. HENN:      I'm not sure it's the same Bates

      15    numbered version, but --

      16                MR. KENNEDY:      All right.

      17                MS. HENN:      -- that's fine.

      18                Q.       Did you want me to repeat the

      19    question?

      20                A.       No.    I think I remember your

      21    question.

      22                Q.       Okay.

      23                A.       My -- my role in the overall

      24    Settlement Agreement was to provide feedback to

      25    counsel, who was interacting with DEA counsel, and to

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       1    primarily focus on operationalizing the commitments

       2    that we were negotiating, making in the -- in the

       3    agreement.

       4                Q.       And in the agreement you mentioned

       5    there were provisions dealing with suspicious order

       6    reporting.       Could you point us to those provisions

       7    that you were referring to?

       8                A.       Well, the first is -- is under "Terms

       9    and Conditions" on page 3, 1(a), Obligations of

      10    McKesson to -- Obligations of McKesson.              And (a) --

      11    do you want me to read this, Counsel, or --

      12                Q.       Yes, please.

      13                A.       (Reading) McKesson agrees to

      14                     maintain a compliance program designed

      15                     to detect and prevent diversion of

      16                     controlled substances as required

      17                     under the CSA and applicable DEA

      18                     regulations.     This program shall

      19                     include procedures for -- to review

      20                     orders for controlled substances.

      21                     Orders that exceed established

      22                     thresholds and criteria will be

      23                     reviewed by a McKesson employee

      24                     trained to detect suspicious orders

      25                     for the purposes of determining

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       1                     whether such orders should not be

       2                     filled and reported to the DEA or,

       3                     based on a detailed review, the order

       4                     is for a legitimate purpose and the

       5                     controlled substances are not likely

       6                     to be diverted into other than

       7                     legitimate medical, scientific, and

       8                     industrial channels.       Orders

       9                     identified as suspicious will be

      10                     reported to the DEA as discussed in

      11                     subsection II (end of reading).

      12                Do you want me to continue?

      13                This compliance program shall apply --

      14                Q.       Actually, Mr. Walker, I would like to

      15    stick on the subject of suspicious orders.               So let's

      16    continue to that cross-reference.

      17                A.       Okay.    II.1(c).     II.1(c):

      18                     (Reading) McKesson shall inform DEA of

      19                     suspicious orders as required by 21

      20                     C.F.R in a format mutually and

      21                     responsibly agreed upon by the

      22                     parties, except that contrary to DEA

      23                     regulations, McKesson shall inform DEA

      24                     headquarters rather than the local

      25                     field office of suspicious orders,

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       1                    unless and until advised otherwise in

       2                    writing by DEA headquarters.           DEA

       3                    agrees to notify all of the DEA Field

       4                    Offices within 30 days of the

       5                    effective date of this agreement that

       6                    McKesson will no longer be required to

       7                    provide suspicious order reports or

       8                    any other types of reports regarding

       9                    excessive purchases or controlled

      10                    substances to the DEA Field Offices,

      11                    and that this agreement shall

      12                    supersede any DEA regulatory

      13                    requirements to report suspicious

      14                    orders to DEA (end of reading).




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       2                You have described the Lifestyle Drug

       3    Monitoring Program.        Earlier today Mr. Kennedy asked

       4    you a lot of questions about the next program that

       5    McKesson developed.        That was called what?

       6                A.       The Controlled Substance Monitoring

       7    Program, or CSMP.




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       3                MS. HENN:     Let's mark another exhibit,

       4    No. -- Defense Exhibit 806.

       5                              (Exhibit No. 806 was marked.)

       6    BY MS. HENN:

       7                Q.       Mr. Walker, you've been handed

       8    Defense Exhibit 806, which is Bates

       9    No. McKesson-WVA-167.

      10                Do you recognize this document?

      11                A.       Yes, I do.

      12                Q.       What is this?




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       3                MS. HENN:     Let's take a look at another

       4    exhibit, which I will mark -- ask the court reporter

       5    to mark as 807, Defense Exhibit 807.

       6                              (Exhibit No. 807 was marked.)

       7    BY MS. HENN:

       8                Q.       Mr. Walker, you've been handed

       9    Defense Exhibit 807, which is a Bates No. MCK-WVA-88.

      10                Do you recognize this document?

      11                A.       Yes, I do.

      12                Q.       What is it?




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      24                MS. HENN:     I'd like to mark another exhibit,

      25    ask the court reporter to mark this as Defense

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       1    Exhibit 808, please.

       2                              (Exhibit No. 808 was marked.)

       3    BY MS. HENN:




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       6                MS. HENN:     Let's take a look at another

       7    exhibit.     This is internal No. 6.          And I'm going to

       8    have the court reporter mark this one as Defense

       9    Exhibit 80?

      10                THE REPORTER:      809.

      11                              (Exhibit No. 809 was marked.)

      12    BY MS. HENN:

      13                Q.       Mr. Walker, you've been handed a

      14    document marked Defense Exhibit 809, Bates

      15    No. MCK-WVA-163.

      16                Do you recognize Exhibit 809?

      17                A.       Yes, I do.

      18                Q.       What is it?




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       9                Q.       Who is Maureen O'Keefe?

      10                A.       I don't -- she's staff coordinator,

      11    according to the memo from Kyle.            She was on the

      12    diversion staff.

      13                MS. HENN:     Okay.    And let's mark another

      14    exhibit.     This will be -- I will ask that this be

      15    marked Defense Exhibit 810, please.

      16                              (Exhibit No. 810 was marked.)

      17    BY MS. HENN:

      18                Q.       You've been handed Defense

      19    Exhibit 810 Bates No. MCK-WVA-187.

      20                Do you recognize this document, Mr. Walker?

      21                A.       Yes, I do.

      22                Q.       What is it?




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      11                MS. HENN:     I will show you one more example.

      12    We will mark this exhibit as Defense Exhibit 811,

      13    please.

      14                              (Exhibit No. 811 was marked.)

      15    BY MS. HENN:

      16                Q.       Mr. Walker, you've been handed

      17    Defense Exhibit 811.         And I don't think we have a

      18    Bates number, but I will try to find out what that

      19    is.   Oh, actually, I know what it is, but it's not

      20    appearing on the document.          The Bates number is

      21    -534479.

      22                Mr. Walker, do you recognize Exhibit 811?

      23                A.       Yes, I do.

      24                Q.       What is it?



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      20                MS. HENN:     Okay.    I'd like to mark this

      21    exhibit as 812, Defense Exhibit 812, please.                But

      22    Counsel, a similar document was marked, but this is

      23    different, a different version.

      24                              (Exhibit No. 812 was marked.)

      25    ///

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       1    BY MS. HENN:

       2                Q.       Mr. Walker, you've been handed

       3    Defense Exhibit 812.         And the Bates number, again, is

       4    not appearing on the document you have, but it's

       5    -542494.     Or maybe it is on yours, not on mine.

       6                A.       I got it.

       7                Q.       What is Exhibit 812, if you recognize

       8    it?




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      16                MS. HENN:     Let's just mark quickly another

      17    exhibit, defense Exhibit 812.

      18                THE REPORTER:      813.

      19                MS. HENN:     813, thank you.

      20                              (Exhibit No. 813 was marked.)

      21    BY MS. HENN:

      22                Q.       Mr. Walker, I hand you Defense

      23    Exhibit 813, Bates No. MCK-WVA-230.

      24                Do you recognize that document?

      25                A.       Yes, I do.

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       1                Q.       What is it?




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      12                MS. HENN:     Thank you very much, Mr. Walker.

      13    I have no further questions.

      14                Do you mind if we take a break?            It's been a

      15    long time.       Let's go off the record, please.

      16                THE VIDEOGRAPHER:       We are going off the

      17    record.     The time is 7:14 p.m.

      18                (Recess taken.)

      19                THE VIDEOGRAPHER:       We are back on the

      20    record.     The time is 7:38 p.m.

      21                          FURTHER EXAMINATION

      22    BY MR. KENNEDY:

      23                Q.       Mr. Walker, this is Eric Kennedy.

      24    I'm allowed to ask you some questions in response to

      25    the questions that your lawyer asked you a few

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       1    moments ago; all right?

       2                A.       I understand that.

       3                Q.       And I'm going to try to keep it brief

       4    because I know it's late in the day.

       5                One of the things that you were shown by

       6    McKesson's lawyer was Defense Exhibit 804.               And that

       7    was a January 18, 2006, letter written by a gentleman

       8    at McKesson to the DEA.         It was written by Paul

       9    Julian.     Do you remember that?         Do you remember

      10    talking about that?

      11                A.       Yes.




      24    BY MR. KENNEDY:

      25                Q.       All right.     And you -- actually, I

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       1    think you read a footnote on page -1362 of the letter

       2    written to the DEA.        Do you remember reading that

       3    footnote?

       4                MS. HENN:     Objection to form.

       5    BY MR. KENNEDY:

       6                Q.       Sir, do you remember reading that

       7    footnote?

       8                A.       Counselor, I remember describing the

       9    content of the footnote.          I don't remember that -- I

      10    don't recall that I read it specifically.               I just

      11    want to be clear.




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       8                MR. KENNEDY:      Could you give me 686,

       9    Exhibit 686.

      10                Q.       And this is the Settlement Agreement

      11    with respect to the Internet pharmacy dosages; right?

      12                I'm going to pull it up so we can look at

      13    it.

      14                MS. HENN:     Well, he may want it.

      15    BY MR. KENNEDY:

      16                Q.       If you will go to the second page of

      17    that Settlement Agreement.

      18                A.       I got it.

      19                MS. HENN:     Great.

      20    BY MR. KENNEDY:

      21                Q.       And so the DEA, the conduct that they

      22    were talking about was three million dosages to

      23    Maryland; right?       In Maryland, three million doses.

      24    2.1 million into Florida.          2.6 million into Texas.

      25    824,000 into Utah.        Right?

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       1                I mean, that's what this DEA settlement was

       2    all about for conduct in '04, '05, and '06; right?

       3    Correct?

       4                A.       This settlement covered the

       5    allegations that DEA made.          So yes.




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       1    BY MR. KENNEDY:

       2                Q.       Between 2000 and 2005, you said you

       3    were out of Regulatory for that period of time, and

       4    what was your job?

       5                A.       I was -- I can't remember my specific

       6    title, but I was the Senior Vice President overseeing

       7    Six Sigma.

       8                Q.       And what did that involve?          Did that

       9    involve regulation of controlled substances?

      10                A.       Not at all.

      11                Q.       Not at all.

      12                How many meetings with the DEA did you go to

      13    between 2000 and 2005?

      14                A.       None.

      15                Q.       How many DEA seminars did you go to

      16    between 2000 and 2005?

      17                A.       None that I remember.

      18                Q.       How many regulatory meetings did you

      19    go to at McKesson between 2000 and 2005 with respect

      20    to controlled substances?

      21                A.       I don't recall going to any.




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       4                MS. HENN:     Counsel, I'm going -- we're going

       5    to need to go off the record so the court reporter

       6    can get her car out of the garage.

       7                THE VIDEOGRAPHER:       We are going off the

       8    record.     The time is 7:50 p.m.

       9                (Off the record.)

      10                THE VIDEOGRAPHER:       We are back on the

      11    record.     The time is 7:58 p.m.

      12    BY MR. KENNEDY:




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      10    BY MR. KENNEDY:

      11                Q.       Let's look at how diligent you were

      12    in executing, then.        Let's look at Exhibit 730, if we

      13    could.

      14                MR. ASQUITH:      It's a new one.

      15                MS. HENN:     Do you have a copy?        That's the

      16    only copy.

      17                Oh, this is an exhibit you withdrew.             There

      18    you go.

      19                              (Exhibit No. 730 was marked.)

      20    BY MR. KENNEDY:




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      15    BY MR. KENNEDY:

      16                Q.       Exhibit 730 is an audit done by

      17    McKesson in March of 2011.          Is that what it says on

      18    the cover page, March of 2011 Audit Report?

      19                A.       Yes.

      20                Q.       If you go to page -498069.          Do you

      21    see that?     "Level 1 Forms," do you see that title?

      22    Level 1 Forms.

      23                A.       Yes.

      24                Q.       Delran, what is that?         Is that one of

      25    your distribution centers?

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       1                A.       Delran, New Jersey was one of our

       2    distribution centers.




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       1                Q.       Now, New Castle.       This is another

       2    distribution center; right?

       3                A.       Yes.

       4                Q.       Under that one it says:




      14                Q.       Washington Court House, is that

      15    another distribution center?

      16                A.       Yes, it is.

      17                Q.       Does that say:




      25                Q.       Conroe, on the next page.          That's

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       1    another distribution center; is it not?

       2                A.       Yes, it is.

       3                Q.       Does that state:




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      24    BY MR. KENNEDY:

      25                Q.       Is Landover one of your distribution

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       1    centers, sir?

       2                A.       Landover was one of our distribution

       3    centers.     It closed in 2012, I believe.

       4                Q.       And this comes from the DEA, so you

       5    should be aware of this.




      23    BY MR. KENNEDY:

      24                Q.       Livonia, is that a distribution

      25    center of McKesson?

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       1                A.       Yes, it is.

       2                Q.       In Michigan?

       3                A.       Michigan.




      19    BY MR. KENNEDY:

      20                Q.       Lakeland, Florida, that's a

      21    distribution center; correct?

      22                A.       Yes.




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       7    BY MR. KENNEDY:

       8                Q.       Metheun, Massachusetts, is that

       9    another distribution center?

      10                A.       Yes, it is.




      25                Q.       Sir, didn't McKesson get fined

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       1    $150 million by the DEA because of their failures

       2    with respect to the 2008 program, leading all the way

       3    up from 2008 and '09, '10, '11, '12, '13, '14, '15,

       4    '16, and '17?      $150 million.

       5                MS. HENN:     Objection to form.

       6    BY MR. KENNEDY:

       7                Q.       Do you recall that, sir?

       8                MS. HENN:     Objection to form.        Lacks

       9    foundation.      Mischaracterizes.

      10                THE WITNESS:      All that I'm aware of is

      11    that -- and because it was public information, is

      12    that McKesson paid $150 million.            I don't understand

      13    any of the details of the settlement, of the

      14    documentation, because all of it occurred after I

      15    left the company.

      16    BY MR. KENNEDY:

      17                Q.       When did you leave the company?

      18                A.       In June of 2015.

      19                Q.       And the DEA fine of $150 million

      20    involved conduct from '08 to '15, while you were the

      21    head of Regulatory; do you understand that?

      22                MS. HENN:     Objection to form.        Lacks

      23    foundation.

      24                THE WITNESS:      Again, Counsel, I was not here

      25    when they -- all of that was finalized and completed.

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       1    So I don't understand what was in the allegations

       2    presented by the DEA.

       3                MR. KENNEDY:      Give me P.88, please.         This is

       4    Exhibit 814.

       5                              (Exhibit No. 814 was marked.)

       6    BY MR. KENNEDY:

       7                Q.       If you will look at that very last

       8    page.    Do you see that this is dated 1-5-17, at least

       9    the signatures, one of the signatures?              1-5-17, it's

      10    on the back cover.

      11                A.       Yes.

      12                Q.       If you look at the front cover, the

      13    front page, is this titled, "Administrative

      14    Memorandum Agreement?

      15                A.       Yes, it is.

      16                Q.       And does the first paragraph say:

      17                     (Reading) The Administrative

      18                     Memorandum Agreement is entered into

      19                     by and between the United States

      20                     Department of Justice, Drug

      21                     Enforcement Administration, and

      22                     McKesson Corporation (end of reading)?

      23                Is that what it says?

      24                A.       Yes.

      25                Q.       And if you'll go to page 88.3 up at

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       1    the -- up at the top.         And look at No. 2.        Does No. 2

       2    say, "Acceptance of Responsibility"?

       3                A.       Yes.

       4                Q.       That's acceptance of responsibility

       5    by McKesson; isn't it, sir?

       6                MS. HENN:     Objection to form.

       7    BY MR. KENNEDY:

       8                Q.       Is that what that means?

       9                MS. HENN:     Objection to form.

      10                THE WITNESS:      That's what it says, Counsel.

      11    Quite honestly, I don't know under the legal terms of

      12    a settlement agreement what that means.              I don't have

      13    the legal expertise.

      14    BY MR. KENNEDY:

      15                Q.       Well, so what I'm -- can you explain

      16    to me how you can come in here and tell us that

      17    McKesson was diligent and aggressive in following and

      18    implementing its 2008 agreement, and you haven't read

      19    the settlement covering that same period of time with

      20    respect to the implementation of that program?                How

      21    can you -- how can you not have read this?

      22                MS. HENN:     Objection to form.

      23                THE WITNESS:      Counsel, I wasn't with the

      24    company when -- to my knowledge, when this document

      25    was -- was generated.

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       1    BY MR. KENNEDY:

       2                Q.       How many hours have you spent with

       3    McKesson's lawyer prior to today reviewing documents

       4    and other materials in preparation for today's

       5    testimony?       How many hours, sir?

       6                A.       A number of them.

       7                Q.       How many, sir?

       8                A.       Five or six.

       9                Q.       And how many different days, sir?

      10                A.       How many different days?

      11                Q.       Yes.

      12                A.       Five or six.

      13                Q.       Five or six days?

      14                A.       Yes.

      15                Q.       And they never showed you this

      16    document before you came in here to testify that

      17    McKesson was aggressive and diligent in implementing

      18    its policies?       You were never shown this?

      19                A.       In reviewing this document, I think

      20    it was shown.       This document, I believe, we did not

      21    cover in detail.

      22                Q.       Well, under "Acceptance and

      23    Responsibility," go down about four or five lines

      24    down in the middle where the sentence starts with,

      25    "McKesson."

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       1                Does it state:

       2                     (Reading) McKesson acknowledges that,

       3                     at various times during the period

       4                     from January 1, 2009, up through and

       5                     including the effective date of this

       6                     agreement (the covered period of

       7                     time), it did not identify or report

       8                     to DEA certain orders placed by

       9                     certain pharmacies which should have

      10                     been detected by McKesson as

      11                     suspicious based upon the guidance

      12                     contained in the DEA letters about the

      13                     requirements set forth in 21 C.F.R

      14                     1301.74(b) and 21 U.S.C 842(a)(5)

      15                     (end of reading)?

      16                Do you see where it states that McKesson

      17    acknowledged those failures; sir?             Is that what it

      18    states?

      19                MS. HENN:     Objection to form.

      20                THE WITNESS:      That's what the document

      21    states.

      22    BY MR. KENNEDY:

      23                Q.       Look down to the next paragraph, if

      24    you would.       About five lines down it starts with

      25    "McKesson."       Do you see that?

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       1                A.       Yes.

       2                Q.       Does it state, again:

       3                     (Reading) McKesson acknowledges that,

       4                     at various times during the covered

       5                     time period, it did not identify or

       6                     report to DEA certain orders placed by

       7                     certain pharmacies which should have

       8                     been detected by McKesson as

       9                     suspicious in a manner fully

      10                     consistent with requirements set forth

      11                     in the 2008 Memorandum of

      12                     Understanding (end of reading)?

      13                Is that what it states?

      14                A.       That's -- yes, that's what it states.

      15                Q.       Covered conduct, No. 3, A.          Does it

      16    state:

      17                     (Reading) McKesson failed to maintain

      18                     effective controls against diversion

      19                     of particular controlled substances

      20                     into other than legitimate medical,

      21                     scientific, and industrial channels by

      22                     sales to certain of its customers in

      23                     violation of the Controlled Substance

      24                     Act and the Controlled Substance Act's

      25                     implementing regulations (end of

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       1                     reading)?

       2                Does it say that?

       3                A.       Yes.

       4                Q.       And then does it outline the

       5    different distribution centers where these failures

       6    occurred, sir?

       7                MS. HENN:     Objection to form.

       8    Mischaracterizing the document.

       9    BY MR. KENNEDY:

      10                Q.       Does it outline the distribution

      11    centers where this conduct occurred?

      12                MS. HENN:     Same objection.

      13    BY MR. KENNEDY:

      14                Q.       Does it, sir?

      15                A.       Just a minute.

      16                What I -- what I read is that the

      17    distribution centers listed there -- it said at

      18    McKesson -- at the distribution centers, including

      19    the following, with the list of distribution centers

      20    that are down below.

      21                Q.       Right.    Distribution center --

      22    McKesson Distribution Center in Colorado, Illinois,

      23    New Jersey, Wisconsin, Florida, Maryland, Nebraska,

      24    Michigan, Massachusetts, and California; correct?

      25                A.       That's what's written in the

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       1    document.




       7                Q.       Let's look to the next page.           If we

       8    look at C, this was specific to what you've been

       9    telling us.       Does it state on C:

      10                     (Reading) McKesson failed to follow

      11                     the procedures and policies set forth

      12                     in the McKesson CSMP to detect and

      13                     disclose suspicious orders of

      14                     controlled substances (end of

      15                     reading)?

      16                Is that what it states, sir?

      17                A.       Yes, that's what the document states.

      18                Q.       Does it next state:

      19                     (Reading) Among other things, McKesson

      20                     failed to conduct adequate due

      21                     diligence of its customers, failed to

      22                     keep complete and accurate records of

      23                     the CSMP files maintained for many of

      24                     its customers, and bypassed suspicious

      25                     order reporting procedures set forth

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       1                     in McKesson's CSMP (end of reading)?

       2                Did I read that right?

       3                A.       You read that correctly.

       4                Q.       And, sir, could we agree -- and I'm

       5    only going to ask you one more time.             Could we agree

       6    that writing a policy, putting it on paper, meeting

       7    with the FDA [sic] and saying these are our policies,

       8    that doesn't do anybody any good unless you follow

       9    your own policies?

      10                MS. HENN:     Objection to form.

      11    BY MR. KENNEDY:

      12                Q.       Could we agree to that, sir?

      13                A.       I don't agree with that statement.             I

      14    strongly believe that we were executing and doing

      15    everything in our capability that we could to manage

      16    our Controlled Substance Monitoring Program.

      17                Q.       And the FDA [sic] disagreed when they

      18    fined you $150 million; correct?

      19                MS. HENN:     Objection to form.

      20                THE WITNESS:      Again, I'm not going to

      21    speculate, because I wasn't involved in the process

      22    of how that was negotiated and reached.

      23                MR. KENNEDY:      I have nothing further.         Thank

      24    you, sir.

      25                MS. HENN:     We have no further questions

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       1    either.

       2                We have just two things to note.            We would

       3    request that the transcript be designated highly

       4    confidential pending review and further designations.

       5                And we request that the witness have the

       6    opportunity to read and sign.

       7                Thank you very much.

       8                THE VIDEOGRAPHER:       This concludes the video

       9    deposition of Donald Walker, consisting of eight

      10    media.

      11                The time is 8:23 p.m.         We are off the

      12    record.

      13                (The deposition was concluded at 8:23 p.m.)

      14                              --o0o--

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       1             Please be advised I have read the foregoing

       2    deposition, and I state there are:

       3    (Check one)       __________NO CORRECTIONS

       4                      __________CORRECTIONS PER ATTACHED

       5

       6

       7             __________________________________

       8              DONALD WALKER

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       1                    DEPONENT'S CHANGES OR CORRECTIONS

       2    Note:    If you are adding to your testimony, print the

       3    exact words you want to add.           If you are deleting from

       4    your testimony, print the exact words you want to

       5    delete.     Specify with "Add" or "Delete" and sign this

       6    form.

       7    DEPOSITION OF:       DONALD WALKER

       8    CASE:    IN RE NATIONAL PRESCRIPTION OPIATE LITIGATION

       9    DATE OF DEPOSITION:        JANUARY 10, 2019

      10    PAGE          LINE        CHANGE/ADD/DELETE/REASON

      11    ______        ______     __________________________________

      12    ______        ______     __________________________________

      13    ______        ______     __________________________________

      14    ______        ______     __________________________________

      15    ______        ______     __________________________________

      16    ______        ______     __________________________________

      17    ______        ______     __________________________________

      18    ______        ______     __________________________________

      19    ______        ______     __________________________________

      20    ______        ______     __________________________________

      21    ______        ______     __________________________________

      22    ______        ______     __________________________________

      23    ______        ______     __________________________________

      24    DEPONENT'S SIGNATURE _______________________________

      25    DATE_________________________

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       1                       CERTIFICATE OF REPORTER

       2             I, SANDRA BUNCH VANDER POL, a Certified

       3    Shorthand Reporter, hereby certify that the witness in

       4    the foregoing deposition was by me duly sworn to tell

       5    the truth, the whole truth and nothing but the truth

       6    in the within-entitled cause;

       7             That said deposition was taken down in shorthand

       8    by me, a disinterested person, at the time and place

       9    therein stated, and that the testimony of the said

      10    witness was thereafter reduced to typewriting, by

      11    computer, under my direction and supervision;

      12             That before completion of the deposition, review

      13    of the transcript was requested.            If requested, any

      14    changes made by the deponent (and provided to the

      15    reporter) during the period allowed are appended

      16    hereto.

      17             I further certify that I am not of counsel or

      18    attorney for either or any of the parties to the said

      19    deposition, nor in any way interested in the event of

      20    this cause, and that I am not related to any of the

      21    parties thereto.

      22    DATED:    JANUARY 14, 2019

      23                              ________________________________

                                      SANDRA BUNCH VANDER POL, CSR 3032

      24

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